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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             New York
                      District of _________________
                                        (State)
                                                           7
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Flywheel Sports, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___ 0 – ___
                                                        0 ___
                                                           4 ___
                                                              8 ___
                                                                 5 ___
                                                                    0 2    2
                                                                       ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              53 West 23rd Street
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              9th Floor
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               New York                   NY       10010
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.flywheelsports.com
                                              ____________________________________________________________________________________________________




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Debtor        Flywheel Sports, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      
                                          ✔ Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor         Flywheel Sports, Inc.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases           
                                            ✔ No
      filed by or against the debtor
      within the last 8 years?               Yes. District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

 10. Are any bankruptcy cases                No See Exhibit 1
      pending or being filed by a
      business partner or an                
                                            ✔ Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________



 11. Why is the case filed in this          Check all that apply:
      district?
                                            
                                            ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have            
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                      Other _______________________________________________________________________________


                                                     Where is the property?_____________________________________________________________________
                                                                               Number          Street

                                                                               ____________________________________________________________________

                                                                               _______________________________________         _______ ________________
                                                                               City                                            State ZIP Code


                                                     Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________
                                                              Contact name     ____________________________________________________________________

                                                              Phone            ________________________________




              Statistical and administrative information




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Debtor      Flywheel Sports, Inc.
            _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                         
                                         ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                              
                                                                             ✔ 1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                  
                                                                             ✔ $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 
                                                                             ✔ $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                         09/14/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Travis Frenzel
                                             _____________________________________________                Travis Frenzel
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   President
                                             Title _________________________________________




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Debtor      Flywheel Sports, Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                       /s/ Todd C. Meyers
                                          _____________________________________________            Date       09/14/2020
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Todd C. Meyers
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Kilpatrick Townsend & Stockton LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                          The Grace Building, 1114 Avenue of the Americas
                                         _________________________________________________________________________________________________
                                         Number     Street
                                         New York
                                         ____________________________________________________             NY
                                                                                                         ____________  10036
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                         212-775-8766
                                         ____________________________________                             tmeyers@kilpatricktownsend.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         5502596
                                         ______________________________________________________ NY
                                                                                                ____________
                                         Bar number                                             State




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                                            EXHIBIT 1

              PENDING OR CONCURRENT BANKRUPTCY CASES FILED
                     BY THE DEBTOR AND ITS AFFILIATES

       On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 7 case) filed a voluntary petition for relief under title 11 of the United States Code in the
United States Bankruptcy Court for the Southern District of New York.

             Entity Name                        Case Number                       Judge
 Flywheel Sports Parent, Inc.               Not yet assigned            Not yet assigned
 Flywheel Sports, Inc.                      Not yet assigned            Not yet assigned
 Flywheel Astor Place LLC                   Not yet assigned            Not yet assigned
 Flywheel Buckhead LLC                      Not yet assigned            Not yet assigned
 Flywheel CCDC, LLC                         Not yet assigned            Not yet assigned
 Flywheel Nm LLC                            Not yet assigned            Not yet assigned
 Flywheel Park Avenue LLC                   Not yet assigned            Not yet assigned
 Flywheel Playa Vista, LLC                  Not yet assigned            Not yet assigned
 Flywheel San Francisco, LLC                Not yet assigned            Not yet assigned
 Flywheel Topanga, LLC                      Not yet assigned            Not yet assigned
 Flywheel Walnut Creek LLC                  Not yet assigned            Not yet assigned
 Flywheel Sports Scottsdale, LLC            Not yet assigned            Not yet assigned
 Flywheel Santa Monica, LLC                 Not yet assigned            Not yet assigned
 Flywheel Williamsburg LLC                  Not yet assigned            Not yet assigned
 Flywheel Domain LLC                        Not yet assigned            Not yet assigned
 Flywheel Denver Union Station, LLC         Not yet assigned            Not yet assigned
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                           United States Bankruptcy Court
                                 Southern District of New York

In re: Flywheel Sports, Inc.,                                        Case No.
                       Debtor.                                       Chapter 7
                         VERIFICATION OF CREDITOR MATRIX

        The undersigned debtor hereby verifies that the creditor matrix/list of creditors submitted
herein is true and correct to the best of his knowledge.


9/14/2020                                     /s/ Travis Frenzel
Date                                          Travis Frenzel, President
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1151 Third Avenue Associates LLC
7 Penn Plaza, Fl 11
New York, NY 10001


1151 Third Avenue LLC
Attn Property Management
c/o Acadia Realty Trust
1311 Mamaroneck Avenue, Suite 260
White Plains, NY 10605


1151 Third Avenue, LLC
201 E 67th St
New York, NY 10065


150 Amsterdam Avenue Holdings LLC
600 Lexington Avenue, 14th Floor
New York, NY 10022


150 Amsterdam Avenue Holdings LLC
Attn Keith E. Reich, Esq.
Greenberg Traurig
200 Park Avenue
New York, NY 10166


150 Amsterdam Avenue Holdings, LLC
150 Amsterdam Ave
New York, NY 10023


1647 Wells LLC
Donald Goldstein
1653 North Wells Street, Rear Patio Entr
Chicago, IL 60614


1647 Wells, LLC
1653 N Wells St
Chicago, IL 60614


224 WAN LLC
1904 Third Avenue, Suite 806
Seattle, WA 98101
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224 WAN LLC - NW Retail Partners
224 Westlake Ave N, Ste 500
Seattle, WA 98109


224 Wan, LLC
224 Westlake Ave
North Seattle, WA 98109


241 Bedford Associates LLC
Attn Benjamin Bernstein Benjamin Stokes
c/o RedSky Capital, LLC
3 Hope Street
Brooklyn, NY 11211


241 Bedford Associates LLC
Jonathan Bernstein Consulting Corp.
5090 PGA Blvd., Suite 308
Palm Beach Gardens, FL 33418


241 Bedford Associates, LLC
173 N 3rd St
Brooklyn, NY 11211


241 Bedford Associates, LLC
3 Hope St
Brooklyn, NY 11211


245 W 17th St Property Inv II, LLC
Attn Kevin Hoo
c/o Savanna Real Estate Fund
10 East 53rd Street, 37th Floor
New York, NY 10022


245 W 17th St Property Inv II, LLC
Attn William E. Stempel, Esq.
McDermott Will   Emery LLP
340 Madison Avenue
New York, NY 10173


245 West 17th Street Property
Investors II, LLC
245 W 17th St
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New York, NY 10011


284 Partners, LLC
215 E Washington St
Ste 201
Ann Arbor, MI 48104


3rd   60th Associates LP
Attn Carol Goodman, Esq
Herrick, Feinsten LLP
2 Park Avenue
New York, NY 10016


3rd   60th Associates LP
Attn Lease Administrator
c/o Olshan Properties
5500 New Albany Road East
New Albany, OH 43054


3rd   60th Associates, LP
203 E 60th St
New York, NY 10022


3rd   60th Associates, LP
600 Madison Ave, Fl 14
New York, NY 10022


A2 Media Corp
dba Icon Interactive
220 Felch St
Ann Arbor, MI 48104


Aaron Jocelyn
Address Redacted


Abbie P Louden
Address Redacted


Abby L Wilson
Address Redacted
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Abby S Geartner
Address Redacted


Abby Smith
Address Redacted


Abi Mcgarvey
Address Redacted


Abigail A Colasacco
Address Redacted


Abigail A Ingham
Address Redacted


Abigail Clayborne
Address Redacted


Abigail Gantz
Address Redacted


Abigail May
Address Redacted


Abigail Miller
Address Redacted


Abigail P Mullins
Address Redacted


Abigail P. Seldin
Address on File


Abigail Smith
Address Redacted


Adam C Dunham
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Address Redacted


Adam Crinson
Address Redacted


Adam Goldstein
Address Redacted


Adam L Macfadden
Address Redacted


Adam Neumann
Address on File


Adam Neumann
Address Redacted


Adam Rosenbaum
Address on File


Adam Rosenbaum
Address Redacted


Adam Turney
Address Redacted


Adam Wasserman
2835 Barker Ave, Apt X14
Bronx, NY 10467


Adam Wasserman
Address Redacted


Adam Willard
Address Redacted


Adams   Co. Real Estate, LLC
411 5th Ave, 9th Fl
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New York, NY 10016


Adelaide Smith
Address Redacted


Adolph Sims
Address Redacted


ADR 1521 Locust, LP
Attn Allan Domb
1845 Walnut Street, Suite 2200
Philadelphia, PA 19103


ADR 1521 Locust, LP
Attn Mark Berman
Brandywine Construction   Management
1521 Locust Street, Suite 400
Philadelphia, PA 19102


ADR 1521 Locust, LP
Henry J. Donner Esq, Jacoby Donner, P.C.
1700 Market Street, Suite 3100
Philadelphia, PA 19103


Adrian Baidoo
Address Redacted


Adrian Gil
Address Redacted


Adrianne E Peterson
Address Redacted


Adrianne M Grunes
Address Redacted


Adrienne R Crowley
55 M St Ne, Ste 1043
Washington, DC 20002
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Adrienne R Crowley
Address Redacted


Affiliated FM Insurance Company
P.O. Box 7500
Johnston, RI 02919


Aine M Prendiville
Address Redacted


AinyE Johnson
Address Redacted


Aire
777 3rd Ave, 6th Fl
New York, NY 10017


AireSpring, Inc.
7800 Woodley Ave
Van Nuys, CA 91406


Airfin Srl
San Lorenzo 12, Piso 1 Dpto 7
Mendoza, 5500
Argentina


Aisha Mitchell
Address Redacted


Akin Gump Strauss Hauer  Feld LLP
Attn Daniel I Fisher and Jason P Rubin
1 Bryant Park
Bank of America Tower
New York, NY 10036


Alan Flores
Address Redacted


Alan Rosen
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Address on File


Alan Rosen
Address Redacted


Alana Curl
Address Redacted


Alana Hess
Address Redacted


Alanna Gardner
Address Redacted


Albert Custard
Address Redacted


Albert T Guerzon
Address Redacted


Alberto M Estwick
Address Redacted


Alberto Rivera
Address Redacted


Aleah R Stander
1310 Palm Springs Ln
Dallas, TX 75204


Aleah R Stander
Address Redacted


Alecia Moore
Address Redacted


Alejandra Parrilla
Address Redacted
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Alejandro Cervantes
Address Redacted


Alessandra Schaszberger
Address Redacted


Alessandro Cottone
Address Redacted


Alex Dash
Address Redacted


Alex J Pena
Address Redacted


Alex R Puette
Address Redacted


Alexa Johnson
Address Redacted


Alexa Mazzilli
Address Redacted


Alexa Messer
Address Redacted


Alexander J Robinson
155 Parker Ave
Maplewood, NJ 07040


Alexander J Robinson
Address Redacted


Alexander S Eisenberg
Address Redacted
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Alexandra Anderson
Address Redacted


Alexandra C Mauriello
Address Redacted


Alexandra Charron
Address Redacted


Alexandra Foglia
Address Redacted


Alexandra Fox
Address Redacted


Alexandra Fugere
Address Redacted


Alexandra G Sweeney
727 17th Ave E
Seattle, WA 98112


Alexandra G Sweeney
Address Redacted


Alexandra Glass-Katz
Address Redacted


Alexandra J Halbeck
Address Redacted


Alexandra Kruck
Address Redacted


Alexandra M Lyons
Address Redacted
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Alexandra Mckeown-Mann
Address Redacted


Alexandra Murata
Address Redacted


Alexandra Novak
Address Redacted


Alexandra Pagano
Address Redacted


Alexandra Pucci
Address Redacted


Alexandra R Garson
520 E 72nd St, Ste Ph-C
New York, NY 10021


Alexandra R Garson
Address Redacted


Alexandra Sumner
Address Redacted


Alexandra Tippett
Address Redacted


Alexandra Torres
Address Redacted


Alexandra Walz
Address Redacted


Alexandra Zepeda
Address Redacted


Alexandria Berlin
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Address Redacted


Alexandria Giannini
Address Redacted


Alexandria Ianni
Address Redacted


Alexandria Langlois
Address Redacted


Alexis Bullock
Address Redacted


Alexis Deprey
Address Redacted


Alexis Karis
Address Redacted


Alexis Lind
Address Redacted


Alexis Neubauer
Address Redacted


Alexis Ruiz
Address Redacted


Alexis Wisdom
Address Redacted


Alexus Mateo
Address Redacted


Alfredo Garcia
Address Redacted
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Alfredo O Dispo
Address Redacted


Ali Johnson
Address Redacted


Ali Larrick
Address Redacted


Ali Siddique
Address Redacted


Aliasghar Parandoosh
Address Redacted


Alice Stejskal
Address Redacted


Alicia J Steele
Address Redacted


Alicia Miller
1052 East Thomas St, Apt 20
Seattle, WA 98102


Alicia Miller
Address Redacted


Alicia Steele
1155 Lavista Rd Ne, Apt 2245
Atlanta, GA 30324


Alicia Steele
Address Redacted


Alisha Headley
Address Redacted
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Alison Backscheider
Address Redacted


Alison D Cohen
114 E 72nd St - 17 A
New York, NY 10021


Alison D Cohen
Address Redacted


Alison Desmond
Address Redacted


Alison Dituro
Address Redacted


Alison E Anderson
2001 Vinnings Pl
Raleigh, NC 27608


Alison Hill
Address Redacted


Alison M Mitchell
Address Redacted


Alison Orr
Address Redacted


Alison Whitney
Address Redacted


Allie N Lutin
Address Redacted


Allie Weiss
Address Redacted
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Allison C Mitchell
Address Redacted


Allison Cox
Address Redacted


Allison M Belli
Address Redacted


Allison M Broder
Address Redacted


Allison M White
Address Redacted


Allison Nuara
Address Redacted


Allison R Sherman
Address Redacted


Allison V Kulas
Address Redacted


Allison Vivian
Address Redacted


Allyson Kelchlin
Address Redacted


Almudena Alcazar
Address Redacted


Alvin Chan
Address Redacted


Alysha Williams
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Address Redacted


Alyssa Bahel
Address Redacted


Alyssa Barrese
Address Redacted


Alyssa Collier
Address Redacted


Alyssa Krueger
Address Redacted


Alyssa L Harberger
Address Redacted


Alyssa Marsh
Address Redacted


Alyssa Reza
Address Redacted


Amalia Reyes
Address Redacted


Amanda Abbey
Address Redacted


Amanda Adams
Address Redacted


Amanda B Povilitus
Address Redacted


Amanda Burke
Address Redacted
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                                       Pg 24 of 285




Amanda Burton
Address Redacted


Amanda Carr
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Amanda D Quintal
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New Orleans, LA 70115


Amanda D Quintal
Address Redacted


Amanda Devecchi
Address Redacted


Amanda E Locke
Address Redacted


Amanda Edwards
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Amanda G Westphalen
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Amanda Hager
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Amanda Leavitt
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Amanda Lowe
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Amanda Maqueira
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Amanda Mckee
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Amanda Meling
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Amanda Neiman
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Amanda P Lefkowitz
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Amanda Potts
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Amanda Riby-Williams
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Amanda Royer
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Amanda Scheer
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Amanda Shapiro
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Amanda Soll
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Amanda Tenenzapf
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Amanda Vortmann
17710 69th Pl W
Edmonds, WA 98026


Amanda Vortmann
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 26 of 285


Address Redacted


Amaurys R Dominguez
Address Redacted


Amazon Advertising LLC
P.O. Box 24651
Seattle, WA 98124-0651


Amazon Web Services
410 Terry Ave N
Seattle, WA 98109


Amber Calderon
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Amber James
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Amber L Robinson
Address Redacted


Amber M Sweet
Address Redacted


Amber Stallings
Address Redacted


Amberlyn Schultz
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Amelia Carter
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Amelia Fuller
Address Redacted


Amelia Lewis
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 27 of 285


Address Redacted


Amelia Vicenzi
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Amelie Neubert
Address Redacted


American Express - Francesca Brucato
53 West 23rd St Fl 9
New York, NY 10010


Amisha Bennett
Address Redacted


Ammirati Cycles Llc
33 SW 15th Ct
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Amy A Segal
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Amy Bevilacqua
Address Redacted


Amy Clapper
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Amy Diprinzio
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Amy Harioka
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Amy Hine
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Amy K Hockenberry
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Address Redacted


Amy M Harris
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Amy M Zerbinopoulos
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Amy Mashlykin
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Amy Paulin
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Ana M Yanez
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Anabelen Rivero
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Anais Marin
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Analisa Bregant
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Anastasia Hoosman
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Andrea Bush
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Andrea Butler
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Andrea Lynn D Alberto
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Andrea Perez
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Andrea Rishty
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Andrea Rodeschini
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Andrea Wynter
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Andrea Zundel
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Andres Quintero
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Andrew C Alfieri
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Andrew C Binkley
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Andrew Dickler
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Andrew Fick
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Andrew Garcia
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Andrew J Mauney
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Andrew M Lee
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Address Redacted


Andrew Mackenzie
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Andrew Mccaskill
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Andrew Mccormick
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Andrew P Boatti
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Andrew Ribeiro
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Andrew Smith
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Andrew Stauffer
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Andrew Tallian
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Andrew Wong
Address Redacted


Andria Soule
Address Redacted


Angel A Martinez
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Angela Butler
Address Redacted


Angela J Mcconnell
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Angela Johnson
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Angela Lutin
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Angela M Ciacci
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Angela M Manzella
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Angela Wells
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Angelena Minniti
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Angelica C Guting
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Anisah Noer
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Anita M Singh
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Washington, DC 20009


Anita M Singh
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   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Anjali Ganju
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Ann Fucigna
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Ann Kelman
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Ann Kelman
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Ann Marie Weeks
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Anna Bernstein
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Anna C Bennett
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Anna C Rogers
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Anna Chorneyko
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Anna E Lynch
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Anna Hutchins
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Anna Hutton
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Anna Italiano
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Address Redacted


Anna J Sewell
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Anna Latcheran
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Anna M Zimhart
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Anna Maldonado
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Annabella Barks
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Annabelle L Torgman
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Anne Marie Everhart
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Anne O Brien
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Anne Stuart Mitchener
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Annemarie Younger
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Annie Le
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Annie Lee
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Annika Gullahorn
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Anthony A Pineda
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Anthony J Gonzalez
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Anthony M Johnson
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Anthony Piskorik
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Anthony R Coleman
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Anthony Yodice
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Antoinette Bianco
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Antoinette M Silvestri
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Antonia Desantis
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Antonio Rivera
Address Redacted


Antonio T Stokes
Address Redacted


Antonio Waldo
   20-12158-jpm    Doc 1    Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 35 of 285


Address Redacted


Anya Rosen
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April M Knight
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April Townsend
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Arabella Wardlaw
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Ard 1521 Locust, LP
1521 Locust St
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Ardelaine Gladstone
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Arden Kelley
Address Redacted


Ariana M Hayaud-Din
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Ariella T Faitelson
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Arielle Cabreja
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Arielle Diaz
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Arielle Valdez
Address Redacted


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Artem Kochnev
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Asher L Goods
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Asher M Saperstein
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Ashleigh Butler
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   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 37 of 285


Ashley A Smith
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Ashley A Smith
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Ashley C Chin
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Ashley C Enger
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Ashley Cummings
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Ashley Curtis
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Ashley D Liu Kirkman
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Ashley Davies
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Ashley De Los Santos
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Ashley Giunta
Address Redacted


Ashley Hammond
Address Redacted


Ashley Hayden
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Address Redacted


Ashley Hews
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Ashley I Adams
Address Redacted


Ashley K Brown
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Ashley K Hathcock
Address Redacted


Ashley K Stanwick
Address Redacted


Ashley L Murray
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Ashley M Allen
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Ashley Martin
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Ashley Martinez
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Ashley R Lake
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Ashley Ray-Harris
Address Redacted


Ashley T Schulthies
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Ashton R Harrison
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Audrey Henderson
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Austin E Murray
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Austin Evans
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   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Austin Groff
Address Redacted


Austin Kleweno
Address Redacted


Austin Mclendon
Address Redacted


Autumn Guzzardi
Address Redacted


Autumn Heddleston
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Autumn Tully
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Ava Cox
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Ava Picken
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Avery B Schroeder
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Avery Gray
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Avery Royal
Address Redacted


Avery Wickes
Address Redacted
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Axel Rojas
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Ayensky Guerrero
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Barbara Perkowski
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Barri Defrancisci
Address Redacted


Bayley Arens
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Beacon Broadway Co. LLC
Attn Howard Wenig, Esq.
Belkin Burden Wnig   Goldman LLP
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New York, NY 10016


Beacon Broadway Co. LLC
Attn Thomas J. Travers
c/o Hotel Beacon
2130 Broadway, Suite 201
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Beacon Operating, LLC
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Beacway Operating, LLC
2130 Broadway
New York, NY 10023


Beacway Operating, LLC
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New York, NY 10023


Beatrice Greenberg-Nembhard
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Beatrice Johnson
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Beatrice Silberzweig
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Bella O Silverberg
Address Redacted


Bella Silverberg
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Ben Melendez
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 43 of 285


Address Redacted


Benjamin Nurthen
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Benjiman Redding
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Benvolio Ventures Llc - Series Flywheel
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Wilmington, DE 19801


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Bernex Richardson
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Richfield, MN 55423-3645


Best Buy
Attn Briana Daymont
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Bethany Bonilla
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   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Bethany Creaven
Address Redacted


Bethany Johnson
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Bethany Timmons
Address Redacted


Bethany Welch
Address Redacted


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Bianca Fils-Aime
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Blake Ross
Address Redacted


Blake Stockton
Address Redacted


Bluem Flywheel, Llc
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Dover, DE 19904


Bob Rademacher
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   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Bob Rademacher
Address Redacted


Bonnie Leta
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BP Prucenter Acquisition LLC
Attn Prudential
c/o Goulston   Storrs , P.C.
400 Atlantic Avenue
Boston, MA 02110-3333


Bp Prucenter Acquisition, LLC
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Bradley W Stallworth
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Brandi Laquidara
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Brandon K Goodman
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Brandon Prather
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Brandon Thomas
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 46 of 285


Address Redacted


Brandon Tindal
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Brandon W Northrup
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Bransen R Gates
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Bre Properties Inc
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San Francisco, CA 94105


BRE Properties Inc.
c/o Wallace Properties
330 112th Avenue NE
P.O. Box 4184
Bellevue, WA 98009


BRE Properties Inc.
Lewis Wiseman
873 Culebra Road
Hillsborough, CA 94010


BRE-FCMA, LLC
Address Redacted


Brendan Hoban
Address Redacted


Brenna Connolly
Address Redacted
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Brenna M O Malley
Address Redacted


Brenna Wagner
Address Redacted


Brett Beljak
Address Redacted


Brian F Levine
Address Redacted


Brian J Sandstrom
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Brian Reiff
Address Redacted


Brian T Slaman
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Briana Huskin
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Briana Regan
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Brianna Allen
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Brianna Blais
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Brianna Buckley
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Brianna L Cappellini
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Address Redacted


Brianna Priscal
Address Redacted


Brianne Mcconnell
Address Redacted


Bridget Murphy
Address Redacted


Bridget Rooney
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Bridget Whalen
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Bridgette Mai-Anh Do
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Brienne Hollingsworth
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Matthews, NC 28104


Brienne Hollingsworth
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Brigid O Callaghan
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Britney Tokumoto
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Britney Turner
Address Redacted


Britt Stromquist
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Brittany Cox
Address Redacted


Brittany E Guerin
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Brittany E Guerin
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Brittany E Wilton
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Brittany Goen
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Brittany Greunke
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Brittany Guh
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Brittany L Tardi
Address Redacted


Brittany R Harrington
Address Redacted


Brittany Schnaars
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Brittany Wiltshire
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Bronwyn L Wilson
Address Redacted
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Brooke Connors
Address Redacted


Brooke Feraco
Address Redacted


Brooke H Lewinter
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Brooke Hruby
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Brooke Laskowski
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Brooke N Weisman
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Brooke S Gelfand
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Brooks D Owens
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Bryan Dougherty
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Bryan Espinal
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Bryan Jarrett
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Bryan Rivera
Address Redacted


Brynn Seborowski
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                                       Pg 51 of 285


Address Redacted


Cade Richardson
Address Redacted


Cadence Union Station LLC
Attn Asset Mgr, Cadence Union Station
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2001 Ross Avenue, Suite 3400
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Cadence Union Station LLC
Attn Cadance Property Manager
c/o Holland Partner Group
600 S. Cherry Street, Suite 700
Denver, CO 80246


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Cadjelens Jean
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Cairo Gere
Address Redacted


Caitlin Collins
Address Redacted


Caitlin Connolly
Address Redacted


Caitlin E Jones
Address Redacted


Caitlin E Kramer
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Caitlin Golub
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Caitlin J Warmack-Tirador
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Caitlin M Bower
Address Redacted


Caitlin R Eckstein
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Caitlin Ramirez
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Caitlin Schneider
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Caitlin Steele
Address Redacted


Caitlin Tighe
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Address Redacted


Caitriona Pollikoff
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Calder S Billhardt
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Caleb Daugherty
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California Franchise Tax Board
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Calliope Maiwald
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Cameran Testerman
Address Redacted


Cameron Edwards
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Cameron Gradel
Address Redacted


Cameron J Kalajian
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Cameron J Martin
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Cameron Jones
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Cameron Kroberger
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Cameron Lawrence
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Camila M Ramon
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Camilia Razavi
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Candee Mcaloon
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Candy Morales
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Houston, TX 77042


Cara B Dudley
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Cara M Gonzalez
   20-12158-jpm    Doc 1    Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 55 of 285


Address Redacted


Cara M Mcmorrow
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Cara Quigley
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Cara R Brennan
Address Redacted


Cara Weaver
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Cara Wien
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Caralyn J Szostkiewicz
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Carla Sanchez-Armora
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Carlee K Avery
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Carleigh Calhoun
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Carlen Ro Mendez
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Carlos Douglas
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 56 of 285




Carlos Justiniano
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Carlos Lima
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Carly Church
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Carly D Dorman
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Carly Danner
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Carly M Hebert
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Carmen Robertson
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Carolina S Carucci
Address Redacted


Caroline A Lebel
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 57 of 285




Caroline Cox
Address Redacted


Caroline Devereaux
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Caroline Hitesman
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Caroline Keesey
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Caroline Knapp
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Caroline Kratz
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Caroline Leggett
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Caroline Lowenberg
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Caroline Moulton
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Caroline Schule
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Caroline Smith
Address Redacted


Caroline T Nagle
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Caroline Wagner
Address Redacted


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Carolyn Selby
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Carrie A Wightman
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Carrie Candaffio
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Casey Brandt
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Casey Dresbach
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Casey F Crowley
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Casey Jordan
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Casey Keckley
Address Redacted


Casey Makovy
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 59 of 285


Address Redacted


Casey Quinn
Address Redacted


Casey Reid
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Casie Wofford
Address Redacted


Casimir Olko
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Cassandra Cresta
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Cassandra Louie
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Cassandra V Liveris
Address Redacted


Cassaundra Padon
Address Redacted


Cassondra N Roloff
Address Redacted


Catharine Ficarra
Address Redacted


Catherine Collins
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Catherine Cossavella
Address Redacted
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                                         Pg 60 of 285




Catherine Dankmyer
Address Redacted


Catherine Hartman
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Catherine M Macken
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Catherine Margaret Sargent
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Catherine Marquez
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Catherine P Broussard
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Cathleen Cushing
Address Redacted


Cathy O Meara
Address Redacted


Catie Salebra
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Ccdc Retail, LLC
824 9th St NW, Ste B
Washington, DC 20001


CCDC Retail, LLC
Attn Consuella Simmons Taylor
Baker Botts LP
One Shell Plaza
910 Louisiana Street
Houston, TX 77002
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                                         Pg 61 of 285


CCDC Retail, LLC
Attn Corporate Counsel
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CCDC Retail, LLC
Attn Stephen Petit
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c/o Qatari Diar
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Celeste Van Weegen
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Celia Haims
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Celia Skvaril
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Celine Heng
Address Redacted


Chad Broskey
Address Redacted


Chanler Haden
Address Redacted


Channel Svid
Address Redacted


Chantelle K Rateliff
Address Redacted


Charhon Callahan Robson      Garza P, LLC
3333 Lee Pkwy, Ste 460
Dallas, TX 75219


Charhon Callahan Robson      Garza, P, LLC
Attn Steven Callahan
3333 Lee Pkwy, Ste 460
Dallas, TX 75219


Charis Vaughn
Address Redacted


Charles Chittenden
Address Redacted


Charles Hogan
Address Redacted


Charles J Mantione
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Charles Jacobson
Address Redacted


Charles L Catt
Address Redacted


Charlotte A Barnes
Address Redacted


Charlotte Cutts
Address Redacted


Charlotte E Kimmons
Address Redacted


Chase A Willman
Address Redacted


Chase Law
Attn Joradn Utanski
700 71st St
Miami Beach, FL 33141


Chase N Todd
Address Redacted


Chase Timinsky
Address Redacted


Chelsea A Wyles
Address Redacted


Chelsea Alt
Address Redacted


Chelsea Cramer
Address Redacted
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Chelsea Lombardi
Address Redacted


Chelsea R Gentry
180 Water St, Apt 2005
New York, NY 10038


Chelsea R Gentry
Address Redacted


Chelsea Spencer
Address Redacted


Chenault Vanmeter
Address Redacted


Cheri Armour Samples
Address Redacted


Cheryl A Clark
Address Redacted


Cheyanne Williams
Address Redacted


Chiedu Peter Uwandi
170 Lafayette St, Apt 1H
Jersey City, NJ 07304


Chiedu Peter Uwandi
Address Redacted


Chloe Kostman
Address Redacted


Chloe Little
Address Redacted
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Chloe Manese
Address Redacted


Chloe Sturdivant
Address Redacted


Chloe Vashaw
Address Redacted


Chloe Whitney
Address Redacted


Chris Stewart
Address Redacted


Christabelle Piansay
Address Redacted


Christian Barrientos
Address Redacted


Christian Erwin
Address Redacted


Christian James Guzman
Address Redacted


Christian M. Ramirez
Address Redacted


Christian S Bautista
Address Redacted


Christie E Horan
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Christie Palermo
Address Redacted


Christie Stawicki
Address Redacted


Christie Tokarski
Address Redacted


Christina Beauvais
Address Redacted


Christina Henricks
Address Redacted


Christina Karpel
Address Redacted


Christina L Smith
Address Redacted


Christina L Soeder
Address Redacted


Christina M Lodde
54 E Springfield St, Apt 2
Boston, MA 02118


Christina M Lodde
Address Redacted


Christina Matheney
Address Redacted


Christina R Rowe
Address Redacted


Christine Fahey
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Address Redacted


Christine M Mcdonough
Address Redacted


Christopher Duncan
Address Redacted


Christopher Infantino
Address Redacted


Christopher J Tracey
20 Island Ave, Apt 612
Miami Beach, FL 33139


Christopher J Tracey
Address Redacted


Christopher Kirkwood
Address Redacted


Christopher M Thomas
980 N Ormewood Park Dr SE
Atlanta, GA 30316


Christopher M Thomas
Address Redacted


Christopher Nichols
Address Redacted


Christopher Palmer
Address Redacted


Christopher Rosario
Address Redacted


Christopher Tucker
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Address Redacted


Christopher Vanderkleed
Address Redacted


Christopher Vasami
Address Redacted


Chugach Enterprises I LLC
c/o AJ Wealth
Attn Eric Gabor
30 Broad St, Fl 29
New York, NY 10004


Cindy Flores
Address Redacted


City And County Of Denver
201 W Colfax Ave
Dept 1009
Denver, CO 80202


City Of Alphretta
2 Park Plz
Alpharetta, GA 30009


City Of Atlanta
68 Mitchell St, Ste 11100
Atlanta, GA 30303


City Of Bellevue
450 110th Ave Ne
P.O. Box 90012
Bellevue, WA 98009-9012


City of Boston
1 City Hall Sq
Window M-30
Boston, MA 02201
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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City of Boston
1 City Hall Sq, Ste 500
Boston, MA 02201


City Of Chicago
121 N Lasalle St
Chicago, IL 60602


City of Chicago Water
City of Chicago Utility Billing
P.O. Box 6330
Chicago, IL 60680-6330


City Of Los Angeles
P.O. Box 30716
Los Angeles, CA 90030-0716


City Of Miami
444 SW 2nd Ave, 6th Fl
Miami, FL 33130


City of Miami Beach
1700 Convention Center Dr.
Miami Beach, FL 33139


City Of Plano
1520 K Ave, Ste 370
Plano, TX 75074


City Of Raleigh
222 W Hargett St, 1st Fl
Raleigh, NC 27601


City Of Santa Monica
1685 Main St
Mail Stop 09
Santa Monica, CA 90401


City Of Scottsdale
7447 E Indian School Rd
Scottsdale, AZ 85251
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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City Of Scottsdale
P.O. Box 1600
Scottsdale, AZ 85252


City of Seattle
P.O. Box 34018
Seattle, WA 98124-5177


City Of Seattle
P.O. Box 34214
Seattle, WA 98124


City Of Seattle - Dept Of Transportation
P.O. Box 34996
Seattle, WA 98124-4996


City of Seattle Dept of Fin     Adm Srv
P.O. Box 94726
Seattle, WA 98124


Claire A Gerig
Address Redacted


Claire Barbrack
Address Redacted


Claire Corridon
Address Redacted


Claire Floriano
Address Redacted


Claire M Ferguson
Address Redacted


Claire Myers
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Claire Richardson
Address Redacted


Claire Russell
Address Redacted


Claire Schwaegler
Address Redacted


Clara Ceccanti
Address Redacted


Clare Samuelson
Address Redacted


Clarence Francois
Address Redacted


Clarence G Bell-King
Address Redacted


Clark Wilson
Address Redacted


Claudia Cavazza
Address Redacted


Claudia Cohen
Address Redacted


Claudine Bedford
Address Redacted


Clifford E Nunley
Address Redacted


Clinton E Wizelius
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 72 of 285


Address Redacted


Clinton Edward Martin
Address Redacted


Cody Pedersen
Address Redacted


Cody Thomas
Address Redacted


Cole Runyan
Address Redacted


Colee E Haisten
Address Redacted


Colin Bradley
Address Redacted


Colin T Batty
86 S St, Ste 4B
Boston, MA 02111


Colin T Batty
Address Redacted


Colleen Duncan
Address Redacted


Colleen Gomez
Address Redacted


Colleen Gunning
Address Redacted


Colleen Wright
Address Redacted
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Colorado Department Of Revenue
P.O. Box 17087
Denver, CO 80217-0087


Colton Manley
Address Redacted


Columbia REIT - 245-249 W. 17th LLC
315 Park Ave S, Fl 4
New York, NY 10010


Comcast
1701 JFK Boulevard
Philadelphia, PA 19103


Comcast - Bellevue
P.O. Box 34744
Seattle, WA 98124-1744


Comcast - Gold Coast
P.O. Box 3002
Southeastern, PA 19398-3002


Comcast - Millburn
P.O. Box 1577
Newark, NJ 07101-1577


Comcast - Slu
P.O. Box 34744
Seattle, WA 98124-1744


ComEd
P.O. Box 805379
Chicago, IL 60680-5379


Comert-Morishige Esra
Address Redacted
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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ConEdison
Att. Law Department
4 Irving Place RM 1875
New York, NY 10003


Conedison - Scarsdale
Jaf Station
P.O. Box 1702
New York, NY 10116


Conedison - Tribeca
Jaf Station
P.O. Box 1703
New York, NY 10116


Conner Traywick
Address Redacted


Connor Esler
Address Redacted


Connor Mcmurdo
Address Redacted


Connor Supple
Address Redacted


Conor Murphy
Address Redacted


Constance M Dewberry
Address Redacted


Continental Casualty Company
c/o Open Brokerage Global Specialty Line
Attn CNA Insurance Co
125 Broad Street, 8th Fl
New York, NY 10004


Contra Costa County Tax Collector
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 75 of 285


625 Court St, Ste 100
Martinez, CA 94553


Coralie Watts
Address Redacted


Corey L Ross
Address Redacted


Corinna Alting
Address Redacted


Cortney Vaughan
Address Redacted


Cortney Wilcox
Address Redacted


Cory Jackson-Bey
Address Redacted


Corynne Wagener
Address Redacted


Cosette Lehmann
Address Redacted


Courtney Belme
Address Redacted


Courtney Corso
Address Redacted


Courtney Gregory
Address Redacted


Courtney L. Corleto
20 W 11th St
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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New York, NY 10011


Courtney Mayer
103 North 10th St, Apt 3E
Brooklyn, NY 11249


Courtney Mayer
Address Redacted


Courtney Patricia Lodge
Address Redacted


Craig T Trask
Address Redacted


Crecent Cameron Venture 1, LLC
402 Oberlin Rd 104
Raleigh, NC 27605


Crescent Cameron Venture 1, LLC
Attn Gallery Cameron Village Prop Mngr
c/o Crescent Resources
227 W. Trade Street, Suite 1000
Charlotte, NC 28202


Crescent Cameron Venture 1, LLC
York Properties
1901 Cameron Street
Raleigh, NC 27605


Crispus I Harrison
Address Redacted


Cristian P Chumbi
Address Redacted


Crt Acp, LLC
1180 W Peachtree St NW 106
Atlanta, GA 30309
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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CRT ACP, LLC
Attn Property Manager
1180 West Peachtree Street, Suite 2250
Atlanta, GA 30309


CRT ACP, LLC
Attn Todd Amara, CFO
c/o Crocker Partners
225 N.E. Mizner Blvd., Suite 200
Boca Raton, FL 33432


Crystal Carlton
Address Redacted


Crystal L Hinnant
Address Redacted


Crystal M Fraser
Address Redacted


Curran Harrison
Address Redacted


Curtis Denton
Address Redacted


Custodian Fbo David M. Seldin Ira
R/O Us Bank
1571 Oceanview Dr
Tierra Verde, FL 33715


Daley D Baldwin
Address Redacted


Dalia Barrios
Address Redacted


Dallas County Tax Office
1201 Elm St, Ste 2600
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 78 of 285


Dallas, TX 75270


Dallas W Jones
Address Redacted


Dan Hicks
Address Redacted


Dana Berkle
Address Redacted


Dana Le
Address Redacted


Dana Norris
Address Redacted


Dana Poltorak
Address Redacted


Dana Rasmussen
Address Redacted


Dana T Bisaccia
Address Redacted


Dana Zuckerman
Address Redacted


Dani Martinez
Address Redacted


Daniel B Dennison
Address Redacted


Daniel J Wilhelm
Address Redacted
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Daniel Mcanally
Address Redacted


Daniel P Keon Jr
Address Redacted


Daniel Peters
Address Redacted


Daniel Racz
Address Redacted


Daniel Raymundo
Address Redacted


Daniel Sun
Address Redacted


Daniel Velasco
Address Redacted


Daniel Wiener
Address Redacted


Daniela Sabogal
Address Redacted


Daniella C Norcia
Address Redacted


Daniella Celia
Address Redacted


Daniella Paiva
Address Redacted


Danielle Cann
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Address Redacted


Danielle Devine-Baum
189 Schermerhorn St, Apt Ph-B
Brooklyn, NY 11201


Danielle Devine-Baum
Address Redacted


Danielle Dipietro
Address Redacted


Danielle Fricke
Address Redacted


Danielle Labella Bennett
Address Redacted


Danielle Lilley
Address Redacted


Danielle N. Pallo
Address Redacted


Danielle P Haskins
Address Redacted


Danielle Riley
Address Redacted


Danielle Rubinich
Address Redacted


Danielle Stoller
Address Redacted


Danielle White
Address Redacted
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                                        Pg 81 of 285




Danny M Reyes
Address Redacted


Danny Macdonald
Address Redacted


Darby Robbins
Address Redacted


Darius Redfearn
Address Redacted


Darren J Bonilla
Address Redacted


Darrius S Chism
Address Redacted


Darya Youssefi
Address Redacted


Davanna D Law
Address Redacted


David A Luna
Address Redacted


David C Robertson
Address Redacted


David E. Simon
Address on File


David E. Simon
And Jacqueline S. Simon Charitable Trust
Address on File
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 82 of 285




David Lambert-Mcmichael
Address Redacted


David Lopez
Address Redacted


David Macdonald
Address Redacted


David Miranda
Address Redacted


David Pisanich
Address Redacted


David R Rossnagle
Address Redacted


David Seldin
1571 Oceanview Dr
Tierra Verde, FL 33715


David Seldin
Address on File


David Seldin
Address Redacted


David Troupe
Address Redacted


David V Artale
Address Redacted


Dean A. Koch
Address Redacted
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 83 of 285


Dean Marchant
Address Redacted


Deanna Cipolla
Address Redacted


Debra Heinrich
9 Train Band Rd
Bedford, NY 10506


Debra Heinrich
Address Redacted


Debrah Herman
Address on File


Debrah Herman
Address Redacted


Decoded Advanced Media LLC
40 Exchange Pl, Ste 1500
New York, NY 10005


Dedric A Scott
Address Redacted


Deianna Hamilton
Address Redacted


Delaney Dewhurst
Address Redacted


Delaney Newhart
Address Redacted


Delaware Department Of Corporations
P.O. Box 898
Dover, DE 19803
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 84 of 285




Delaware Secretary Of State
P.O. Box 898
Dover, DE 19903


Demitra A Pace
Address Redacted


Denae A Olberding
Address Redacted


Denise D. Duffy
Address Redacted


Denise M Foss
Address Redacted


Denise Sebanakitta
Address Redacted


Dennis Palacios
Address Redacted


Denver Dept Of Finance
201 W Colfax Ave
Dept 1009
Denver, CO 80202


Denver Manager Of Finance
201 W Colfax Ave
Dept 403
Denver, CO 80202-5330


Derek Yerkovich
Address Redacted


Derrek Stoltenberg
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 85 of 285


Destinee E Smith
Address Redacted


Destinee Hughes
Address Redacted


Destiny O Gonzalez
Address Redacted


Deva C Samuels
Address Redacted


Devante Goolsby
Address Redacted


Devin Brevard
Address Redacted


Devin Cherry
Address Redacted


Devin Dakes
Address Redacted


Devlin Barnes
Address Redacted


Devon R Bennett
Address Redacted


Dewayne Brown
Address Redacted


Dexter Carter
Address Redacted


DGA Security Systems, Inc.
429 W 53rd St
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 86 of 285


New York, NY 10019


Diana Glass
Address Redacted


Diane Leone
Address Redacted


Diego Yanez
Address Redacted


Dionna N Thomas
Address Redacted


District Of Columbia Office Of Tax      Rev
1101 4th St, Sw, Ste 270 W
Washington, DC 20024


Dominique Saunders
Address Redacted


Donald Duck
Address Redacted


Donna Mitchell
Address Redacted


Dontazz Smith
Address Redacted


Drew D Laughlin
Address Redacted


Drew D Shelton-Stewart
Address Redacted


Drew Deal
Address Redacted
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 87 of 285




Drew S Friedman
Address Redacted


Drew Vagen
Address Redacted


Duke Energy
P.O. Box 70516
Charlotte, NC 28272-0516


Duke Energy - Charlotte
P.O. Box 70516
Charlotte, NC 28272-0516


Dustin Young
Address Redacted


Dwayne Frection
2239 NE 122nd St
North Miami, FL 33181


Dwayne Frection
Address Redacted


Dylan Griffin
Address Redacted


Dylan Minowa
Address Redacted


Dylan T Wahl
Address Redacted


Eastchester Ufsd
C/O Receiver of Taxes
40 Mill Rd
Eastchester, NY 10709
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 88 of 285




Ebony Walker
Address Redacted


Edelmiro Cavazos
Address Redacted


Edelsberg Law PA
Attn Scott Edelsberg
20900 NE 30th Ave, Ste 417
Aventura, FL 33180


Edgar A Camacho
4-D Adrian Ct
Cortlandt Manor, NY 10567


Edgar A Camacho
Address Redacted


Edirin Okoloko
Address Redacted


Edward Kinnaly
Address on File


Edward Kinnaly
Address Redacted


Edward Witcher
Address Redacted


Edwina Rosado
Address Redacted


Eileen Y Rios Ramirez
Address Redacted


Eirianne Kennelley
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 89 of 285




Elady Cruz
Address Redacted


Elaica Zayas
Address Redacted


Elaine M Randant
Address Redacted


Elan Sorrell
Address Redacted


Eldred Davies
Address Redacted


Eleah Burman
Address Redacted


Eleanor A Dankmyer
Address Redacted


Eleanor Linsell
Address Redacted


Eleanor Marks
Address Redacted


Elena Flores Rector
7345 N Damen Ave, Apt 2S
Chicago, IL 60645


Elena Flores Rector
Address Redacted


Elena Sandell
Address Redacted
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Elena Shieh
Address Redacted


Elia R Covino
Address Redacted


Eliana Porcelli Jorgensen
Address Redacted


Elise Renner
Address Redacted


Elise S Strader
Address Redacted


Elissa Davila-Shiau
Address Redacted


Elissa Goetschius
Address On File


Elissa Goetschius
Address Redacted


Elissa Kc Goetschius
Address Redacted


Elissa Molzahn
Address Redacted


Eliza Fitzgibbons
Address Redacted


Eliza J Sniatkowski
Address Redacted


Eliza Krakower
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 91 of 285


Address Redacted


Eliza Schlesinger
Address Redacted


Elizabeth A Mcintosh
Address Redacted


Elizabeth Allcock
Address Redacted


Elizabeth Bergdolt
Address Redacted


Elizabeth Bray
60 W 66th St, Apt 14F
New York, NY 10023


Elizabeth Bray
Address Redacted


Elizabeth Byouk
Address Redacted


Elizabeth Clarkin-Breslin
Address Redacted


Elizabeth Coda
Address Redacted


Elizabeth Crumrine
Address Redacted


Elizabeth Erb
Address Redacted


Elizabeth Fleming
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 92 of 285




Elizabeth H Brandt
Address Redacted


Elizabeth Hake
Address Redacted


Elizabeth Hurley
Address Redacted


Elizabeth Johnson
Address Redacted


Elizabeth L Bustle
Address Redacted


Elizabeth Lang
Address Redacted


Elizabeth Lee Crabtree Lentz
Address Redacted


Elizabeth Lorenz
Address Redacted


Elizabeth Mesta
Address Redacted


Elizabeth Montgomery
Address Redacted


Elizabeth Munoz
Address Redacted


Elizabeth Obeidat
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 93 of 285


Elizabeth Powell
Address Redacted


Elizabeth Provencher
Address Redacted


Elizabeth R Bish
Address Redacted


Elizabeth R Mulligan
49 E 86th St, Apt 6B
New York, NY 10028


Elizabeth R Mulligan
Address Redacted


Elizabeth Tommasi
Address Redacted


Elizabeth Turner
Address Redacted


Elizabeth Woolford
Address Redacted


Ella Mcmahan
Address Redacted


Ellen Kilgo
Address Redacted


Ellen Perkins
Address Redacted


Ellen Shook
Address Redacted


Ellen Somerville
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 94 of 285


Address Redacted


Ellie Yorke
Address Redacted


Ellison Eason
Address Redacted


Elmsford Elite Laundry, LLC
399A Executive Blvd
Elmsford, NY 10523


Elvin S Trejos
Address Redacted


Emeri Lewkowicz
Address Redacted


Emilee Ehret
Address Redacted


Emilee Johnsen
Address Redacted


Emilie Frede
Address Redacted


Emilie Ratajczak
Address Redacted


Emily A Burkhardt
Address Redacted


Emily A Palmquist
Address Redacted


Emily Aleinikoff
Address Redacted
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 95 of 285




Emily Bennett
Address Redacted


Emily Bringgold
Address Redacted


Emily Bushman
Address Redacted


Emily Carson
Address Redacted


Emily Cates
Address Redacted


Emily Colton
Address Redacted


Emily Crocker
Address Redacted


Emily Fosnock
Address Redacted


Emily Gigliotti
Address Redacted


Emily Guthier
Address Redacted


Emily Isley
Address Redacted


Emily Laughlin
Address Redacted
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 96 of 285


Emily Long
Address Redacted


Emily M O Connell
Address Redacted


Emily M Reese
Address Redacted


Emily Nagler
7 Vale Dr
Mountain Lakes, NJ 07046


Emily Nagler
Address Redacted


Emily Patch
Address Redacted


Emily Peters
Address Redacted


Emily R Doxtator
Address Redacted


Emily R. Sferra
3653 Florida St
San Diego, CA 92104


Emily R. Sferra
Address Redacted


Emily Recht
821 N Doan Dr
Burbank, CA 91506


Emily Recht
Address Redacted
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 97 of 285




Emily Spencer
Address Redacted


Emily Tempchin
Address Redacted


Emily Wojnar
Address Redacted


Emily Yeterian
Address Redacted


Emily Zuzelski
Address Redacted


Emma Brown
Address Redacted


Emma Burns
Address Redacted


Emma C Godfrey
Address Redacted


Emma Camp
Address Redacted


Emma G Mohamed
Address Redacted


Emma Hensley
Address Redacted


Emma L Hebert
Address Redacted


Emma P Curran
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 98 of 285


Address Redacted


Emma Raser
Address Redacted


Emma S Gaquin
Address Redacted


Emma Stegman
Address Redacted


Emma Stillman
Address Redacted


Emma Thompson
Address Redacted


Emma Vagen
Address Redacted


Emma Woessner
Address Redacted


Emmanuel Mendez
Address Redacted


Emmanuel Tineo
32-29 106th St
East Elmhurst, NY 11369


Emmanuel Tineo
Address Redacted


Emmy Giarrusso
Address Redacted


Employment Development Dept.
P.O. Box 989061
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                         Pg 99 of 285


West Sacramento, CA 95798-9061


Enoch Mcdougall
Address Redacted


Enrique Rangel
Address Redacted


Eric Boneta
Address Redacted


Eric Hadley
Address on File


Eric Hadley
Address Redacted


Eric Hunter
Address Redacted


Eric M Adum
9 Janson Dr
Westport, CT 06880


Eric M Adum
Address Redacted


Eric T Sand
Address Redacted


Eric Tucker
Address Redacted


Erica B Muslin
Address Redacted


Erica Biegen
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Erica Friedman
Address Redacted


Erica Gindi
Address Redacted


Erica Migoya
Address Redacted


Erica Nahmad
Address Redacted


Erica Wood
Address Redacted


Erika C Carter
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Erin Bonnell
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Erin Bostock
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Erin Silberman
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Erin Stevens
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                                        Pg 104 of 285




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Gabrielle Pollock
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                                       Pg 114 of 285


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Hannah De Groot
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Hannah Moreau
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Howard 2006 Gift Trust
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Fbo Molly I Howard
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Howard 2006 Gift Trust
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                                       Pg 124 of 285


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Jacob Rechel
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Jessica A Profeta
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Jessica Allen
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Jessica Amaris
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Jessica Conners
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Jessica D Nelson
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Jessica E Bielski
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Jessica Fass
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Jessica Gonzalez
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Jessica Hecker
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Jessica Herman
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Jessica Hurwitz
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Jessica Jacobson
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Jessica L Greene
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Jessica L Woods
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Jessica Levitt
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Jessica M Chen
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Jessica Mcpherson
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Jessica Mikel-Bertolini
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Jessica Murphy
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Jessica Reed
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Jessica Riccobono
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Jessica Ruhlin
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Jessica Santiago
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Jessica Schroer
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Jessica Sharpe
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Jessica Smith
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Jessica Spatz
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Jessica Stenberg
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Address Redacted


Jessica Sullivan
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Jessica Toplak
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Jessica Troiano
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Jessica Wolvington
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Jessica Zogg
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Jill Perlmutter
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Jill Perlmutter
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Jillian Goodtree
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Jillian Gould
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Jillian Jameson
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Jillian Thero
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Joan E Hill
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Joanna Sienkiewicz
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Jobeth Penalba
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Jocelin Pinto
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Jocelyn Bold
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Jocelyn Y Kolkin
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Joel Fernandez
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John Golson
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John Huffsmith
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John Victor Self
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Jonathan Canarick
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   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Address Redacted


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Jordan L Fahle
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Jordan Larsen
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Jordan M Orlando
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Jordan Muzzy
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Jordan Parry
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Jordan T Barrow
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Jordana L Frankel
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Jordyn A Weisberg
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Jordyn Matthews
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Jose Eric Bedregal
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Joseph Alexandre
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Joseph Braswell
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Joseph Cohen
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Joseph Flannery
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Joseph Giorgi
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Joseph Kennedy
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Joseph Lyons
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Joseph Maenza
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Joseph Mastraccio
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Joseph Mesquita
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Joseph Ryan Mulvey
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Joseph Teegardin
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Joseph Vanderberg
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Joshua Alexander
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Joshua Buscher
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Joshua Caraballo
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Josue Galvez
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Josue Griffin
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Juan Bueno
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Julia A Jurgovan
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Julia Allsbrook
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Julia Feeley
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Julia Jameson
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Julia K Gytri
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Julia Marcus
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Julia Micciantuono
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Julia Miller
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Julia Moon
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Julia Morales
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Julia Muro
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Julia R Rosen
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Julia Schumacher
Address Redacted


Julia Sitch
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Julia Smith
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Julia Tinkey
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Juliana Barounis
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Juliana Marin
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Julianna Rubino
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Julianne Dupont
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Julie Albanese
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Julie Bezerra
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Julie Dichtenberg
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Julie Diep
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Julie Flores
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Julie Lynn Pagliaro
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Julie Wauters
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Juliet Burgh
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Juliet Regan
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Julio Garcia
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July Choi
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Justin Bogorad
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Justin Dunbar-Stevens
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Justin Flexen
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Justin Quinn
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Justin Racette
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Justin Smith
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Justina Aveyard
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Kailee Smith
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Kaileigh Eaton
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Address Redacted


Kailyn Nowak
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Kaitlin Coble
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Kaitlin Morgan
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Kaitlin N Redford
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Kaitlin Nelson
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Kaitlyn Eason
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Kaitlyn Justiniano
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Kaitlyn Oberg
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Kaitlyn Sawyer
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Kaitlyn Swift
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Kaitlyn Vadenais
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Kallyne S Bottini
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Karen Addaman
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Karen Schmidt
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Kari Washington
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Karlyle A Alvino
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Kassondra Marshall
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Katarina Hong
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Kate Poloskey
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Kate Zulauf
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Katelyn Biolo
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Katelyn Carr
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Katelyn Hendrix
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Katelynn Shennett
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Katelynne Salzillo
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 158 of 285


Address Redacted


Katherine Cardner
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 159 of 285


Address Redacted


Katherine Maultsby
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Katherine Mckeon
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Katherine Nicklebur
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Katherine Ross
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Katherine S Hopp
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Katherine Schlesinger
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Katherine Schmidt
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Katherine Schwoerer
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Katherine Sherrill
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Katherine Skinner
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Katherine Toll
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Katherine Wallace
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Kathleen Barrows
Address Redacted


Kathleen Killeen
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Kathleen Mccoy
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Kathleen Perry
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Kathleen S Brunson
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Kathleen Spain
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Kathryn Addison
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Kathryn Caissy
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Kathryn Della Fera
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Kathryn E Kaminski
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Kathryn Harris
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Kathryn Yan
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Katie A Gottfried
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Address Redacted


Katie E Degennaro
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Katie J Terpstra
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Katie Kaminsky
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Katie Leinenkugel
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Katie Mollison
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Katrina Beek
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Kay Vargas
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Kayla Asuoty
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Kayla Carpio
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Kayla Coleman
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Kayla Kummerl
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Kayla Marcus
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Kayla Reid Sibley
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Kayla Somoano
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Kaylee Otterbacher
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Kayley A Watson
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Kayley Toefield
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Keaton Whittaker
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Keelin S Woodell
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Kellen Lewis
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Kelley G Thompson
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Kelli Braquet
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Kelly Amshoff
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 163 of 285


Address Redacted


Kelly C Johnson
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Kelly Chase
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Kelly December
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Kelly Klein
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Kelly Letourneau
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Kelly M Thompson
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Kelly N Henderson
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Kelly R Hershman
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Kelly Rodenas
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Kelsey A Pfeffer
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Kelsey Allen
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Kelsey Ann O Neill
Address Redacted
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Kelsey Brandt
Address Redacted


Kelsey Grady
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Kelsey Suggs
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Kelsey Sutika
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Kelsey Tarantino
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Kelvin J Paulino
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Kendalin J Walker
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Kendall Cafaro
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Kendra Haven
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Kendra Mccabe
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Kennedy Wilmer
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Kenneth Lautz
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Kenneth M Gunter
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 165 of 285


Address Redacted


Kenneth T Zablotsky
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Kevin Bianchi
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Kevin Custer
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Kevin Daniels
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Kevin Espinal
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Kevin Legare
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Kevin Miller
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Kevin Nguyen
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Kevin O Neil
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Khalil Hudson
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Khetanya J Henderson
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Khiry Gordon
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Kiersten M Overdahl
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Kiley C Barrett
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Kiley Pawlak
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Kimberly A Di Nino
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Kimberly Banks
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Kimberly L Kirt
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Kimberly Rogers
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                                        Pg 167 of 285


King County Treasury
500 4th Ave 600
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King County Treasury
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King County Treasury
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Kirsten Nottingham
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                                        Pg 168 of 285


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Krista L Durbin
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Kristen Eichamer
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Kristen Heron
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Kristen Mosley
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Kristen Perry
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Kristen Pierce
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Kristen Tornga
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   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 169 of 285




Kristina Girod
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Kristine Wewerka
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Kristofer Hill
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Kristy Sampson
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Krystal L Camosse-Dwyer
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Krystle Hapner
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Kurt Kemper
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Kurt L Joyce
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Kwashay Wilkerson
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Kyle Axman
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Kyle Bergman
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Kyle Brees
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   20-12158-jpm    Doc 1    Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 170 of 285


Kyle Brock
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Kyle Frattini
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   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Laura Lopez
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Laura Mcdonald
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Laura Stewart
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Laura T Sonn
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Address Redacted


Laura V Durning
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Laura Wilson
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Laura Yoney
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Laurel Abbott
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Laurel Delany
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Lauren Ahern
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Lauren Aucott
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Lauren B Kay
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Lauren Biehl
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Lauren Butler
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Lauren Cannon
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Lauren Dessinger
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Lauren Doyle
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Lauren Jarmer
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Lauren Risinger
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Lauren Rosella
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                      Pg 175 of 285


Address Redacted


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Lauren W Mavica
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                                        Pg 176 of 285


Leah Glucksman
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Leah R Jacques
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Leah Ramos
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Leah St. John
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Leanna E Bran
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Lee Mitchell
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Lee Scott
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Lena Johnson
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Lena Kunz
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Lena M Hicks
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   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Leroy Mapp
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Lesley Kraemer
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Leslie H Kim
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Leslie Macmanus
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Lester Finley
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Liliana C Lopez
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Lillian Davis
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Lillian Gelman
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Lily Colby
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Lily Francour
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Lindsay Berg
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Lindsay Booker
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Lindsay Brasser
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Address Redacted


Lindsey A Mcmeen
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Address Redacted


Lindsey S Schapiro
Address Redacted


Lindsey Ungar
Address Redacted


Lindsey Walker
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Lior Gal
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Lisa A Erbacher
Address Redacted


Lisa Donmall-Reeve
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Lisa J Cleveland
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Lisa Kuhnen
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Lisa M Tompkins
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Lisa Vellieux
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Lison E Anderson
Address Redacted


Lissa N Smith
471 Columbus Ave, Apt 12
New York, NY 10024
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Lissa N Smith
Address Redacted


Liza Hornyak
Address Redacted


Lj Glanton
Address Redacted


Lockton Insurance Brokers, LLC
1185 6th Ave
New York, NY 10036


Loel A Mc Bryde
Address Redacted


Logan Hansen
Address Redacted


Loraine De La Cruz
Address Redacted


Lori S. Bebout
Address Redacted


Los Angeles County Tax Collector
225 N Hill St, 1st Fl
Los Angeles, CA 90012


Louis Chavez
Address Redacted


Louise Taylor
Address Redacted


Lovell Bruce
Address Redacted
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Lu Zhou
Address Redacted


Luana J Perez
Address Redacted


Lucas M Blankenhorn
Address Redacted


Lucero Sandiga
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Luciana Cea
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Luciano Escobar
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Lucy A Sexton
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Lucy Dinh
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Luke Hudnall
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Luke Mcferran
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Lydia Baldwin
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Lydia Morgen
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Lyndsay Payne
Address Redacted


Lynsey N Harris
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Lyonel S Reneau
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Mackensie Freeman
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Mackenzie Mccoy
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Mackenzie Morgan
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Mackinzie K Reynolds
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Macon Hardee
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Maddie Swanborn
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Maddison N Celeste
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Madelaine Houssiere
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Madelaine Sporbert
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Madeleine J Metzger
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Madeline Beirne
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Madeline Buckley
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Madeline C Decerbo
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Madeline C Troutman
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Madeline Lambert
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Madeline Mathias
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Madelyn Morgan
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Madison A Ebanks
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Madison D King
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Madison Dufault
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Madison Holcomb
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Madison Humphrey
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Madison J Rosenthal
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Madison J Sanders
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Madison Jensen
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Madison Krause
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Madison Pastore
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Madison Perry
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Madison Riley
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Madison Shamoun
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Madria Craig
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Maegan Gibson
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Maeve Flaherty
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Maggie Gray
Address Redacted


Magnolia O Donnell
Address Redacted
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Mairead Hurley
Address Redacted


Malcom A Hayes
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Malik Williams
Address Redacted


Mallesha A Malcolm
Address Redacted


Mallory F Goldenberg
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Mallory Isaacs
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Mallory Kneller
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Mallory Kocher
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Mandie Middleton
Address Redacted


Manjeet K Singh
Address Redacted


Manuel Jorge
Address Redacted


Manuela Hurtado Galvis
Address Redacted
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                                        Pg 186 of 285


Mara R Frisch
Address Redacted


Marc C Daigle
60 E 9th St, Apt 628
New York, NY 10003


Marc C Daigle
Address Redacted


Marc Jorio
Address Redacted


Marciann E Stech
Address Redacted


Marcus Russell
Address Redacted


Marcus W Sokes
Address Redacted


Marcy B Langworthy
Address Redacted


Margaret Fosque
Address Redacted


Margaret Gordon
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Margaret Homer
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Margaret J Bode
Address Redacted


Margaret Mary Cox
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Address Redacted


Margaret Pecorino
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Margaret Royce
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Margaret Sweeney
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Margeaux Bergman
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Margot Mcmurray
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Maria D Plata
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Maria F Rodriguez Carrillo
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Maria Gianopulos
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Maria K Giannopoulos
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Maria Orlova
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Mariah Aho
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Mariah Kramer
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Mariah Lavitt
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Mariah Ostia
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Mariah Young
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Mariah-Cauhryn Smelser
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Mariajose Ortiz
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Marianna Pinto
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Marianne Johnson
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Marie A Hayes
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Marie Mailander
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Marie Moccia
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Marie Moquin
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Marie-France A Gentile
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Marielle Abbott
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 189 of 285


Address Redacted


Marin Duby
Address Redacted


Marino Iandolo
Address Redacted


Mario Martinez
725 West 172 St, Apt 55
New York, NY 10032


Mario Martinez
Address Redacted


Marios Stylianou
Address Redacted


Maris L Fernandes
Address Redacted


Marisa A Salemme
Address Redacted


Marisa K Gaynor
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Marisa M Vandergriff
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Marisa Melito
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Marisa Miller
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Marisa Miller
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Marisa Pelligrino
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Marissa Geannette
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Marissa Hardison
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Marissa L Bednarek
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Marissa L Scharfberg
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Marissa R Hardy
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Marit Vangrow
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Maritza A Leonardo Vargas
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Marjorie Daily
Address Redacted


Mark Whitesides
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Marlena Goldowska
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Marley Francois
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   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Marni Held
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Marquise H Stockman
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Martin Maynard
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Mary Ahern
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Mary Corcoran
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Mary Dorn
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Mary Elizabeth Anderson
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Mary Farris
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Mary Henry
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Mary Hoomanawanui
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Mary Kate Lindner
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Mary Legget
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Mary Nolan Brown
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Mary Outcalt
Address Redacted


Mary Pat Lee
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Mary Regas
Address Redacted


Mary Scott George
Address Redacted


Mary Stunja
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Mary Todd
Address Redacted


Maryn K. Juergens
Address Redacted


Mason Lewis
Address Redacted


Mason R Thornton
Address Redacted


Massachusetts Dept Of Revenue
100 Cambridge St, 2nd Fl
Boston, MA 02114-2509


Mathilde Hunt
Address Redacted


Matthew Boyd
Address Redacted
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 193 of 285




Matthew Cohen
Address Redacted


Matthew Cooper
Address Redacted


Matthew D Johnson
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Matthew E Windsor
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Matthew Ellis
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Matthew J Ragas
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Matthew J. Yost
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Matthew Kearney
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Matthew Ketai
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Matthew Larmore
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Matthew Lerner
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Matthew O Connor
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Matthew R Hurley
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Address Redacted


Matthew R Prestorius
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Matthew Ramos
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Matthew Restivo
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Matthew S Mcmullan
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Matthew Schousen
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Matthew Schulman
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Matthew Wilson
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Maura Healy
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Maure Buckley
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Maureen M Sanders
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Max Abreu
Address Redacted


May Mobarek
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Maya Bramletta
Address Redacted


Maya L Jackson
Address Redacted


Maya Musial
Address Redacted


Maya Popernik
Address Redacted


Maycie Belmore
Address Redacted


Mckenna Potts
Address Redacted


Mckenzie Berryhill
Address Redacted


Mckenzie Sherman
Address Redacted


McKool Smith
300 W 6th St, Ste 1700
Austin, TX 78701


McKool Smith
Address on File


Meagan Jubb
Address Redacted


Meagan Rometty
Address Redacted
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 196 of 285


Meaghan Arabejo
Address Redacted


Meaghan Cooney
Address Redacted


Mecklenburg County Tax Collector
3205 Freedom Dr, Ste 3000
Charlotte, NC 28208


Megan A Fletcher
Address Redacted


Megan Arnold
Address Redacted


Megan Arroyo
Address Redacted


Megan Carlin
Address Redacted


Megan Dorantes
Address Redacted


Megan E Gurene
Address Redacted


Megan Koop
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Megan L Armstrong
Address Redacted


Megan Myers
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Megan N Arnoldy
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 197 of 285


Address Redacted


Megan Ortiz
Address Redacted


Megan Rucker
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Megan Vannoy
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Megan Zimmerman
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Meghan C O Donoghue
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Meghan Conrad
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Meghan Cullinan
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Meghan E Lee
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Meghan Harrington
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Meghan Sgro
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Megon Butler
Address Redacted


Meisha Reid
Address Redacted
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 198 of 285




Mekala Pavlin
Address Redacted


Melanie A Rosner
Address Redacted


Melanie Collins
Address Redacted


Melanie Judice
Address Redacted


Melanie M Luftman
364 Manhattan Ave, Ste 1F
Brooklyn, NY 11211


Melanie M Luftman
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Melanie Mackin
Address Redacted


Melanie Rizzotti
Address Redacted


Melanie S Herrera
Address Redacted


Melinda Sarkis
Address Redacted


Melisa Gardina
Address Redacted


Melissa Dundas
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 199 of 285


Melissa K Demetrops
Address Redacted


Melissa Kline
Address Redacted


Melissa Kramer
Address Redacted


Melissa M Quintana
Address Redacted


Melissa Oliva
Address Redacted


Melissa S Martin
Address Redacted


Mercedes Owens
Address Redacted


Mercury Thread LLC
18 Bird St
East Walpole, MA 02032


Meredith Dejesus Caradimos
Address Redacted


Meredith Diehn
Address Redacted


Meredith G Heestand
Address Redacted


Meredith L Hoffman
Address Redacted


Meredith Miller
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 200 of 285


Address Redacted


Meritus Intelytics Private Limited
2nd Fl, Gutenberg IT Park
Kondapur, Hyderabad 500084
India


Meytal Clark Rubin
Address Redacted


mGage, LLC
16233 Kenyon Ave, Ste 130
Lakeville, MN 55044


Mia Miller
Address Redacted


Mia Shaughnessy
Address Redacted


Miami-Dade County Tax Collector
200 NW 2nd Ave
Miami, FL 33128


Michael A Burlando
Address Redacted


Michael A Gonzalez
Address Redacted


Michael Charette
Address Redacted


Michael Charles
Address Redacted


Michael Cohen
167 Congress St, Apt G
Brooklyn, NY 11201
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 201 of 285




Michael Cohen
Address Redacted


Michael Darienzo
Address Redacted


Michael Davis
Address Redacted


Michael Davis
PO Box 69
Wainscott, NY 11975


Michael F Swirko
Address Redacted


Michael Haggerty
Address Redacted


Michael Herwitz
Address Redacted


Michael Hornig
Address Redacted


Michael J Piscadlo
530 W 45th St, Apt 4F
New York, NY 10036


Michael J Piscadlo
Address Redacted


Michael Maloney
Address Redacted


Michael Nugent
Address on File
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 202 of 285




Michael Nugent
Address Redacted


Michael Peterson
Address Redacted


Michael Quadrino
Address Redacted


Michael S Hill
Address Redacted


Michael Skeffington
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Michael T Roach
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Michael Vardanian
Address Redacted


Michael Z Newbauer
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Michael Zimmerman
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Michaeleen Christakos
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Michelle C Rubich
Address Redacted


Michelle Forero-Pinilla
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 203 of 285


Michelle Frost
Address Redacted


Michelle Greenman
Address Redacted


Michelle Greenspan
Address Redacted


Michelle L Dowling
Address Redacted


Michelle L Heyl
291 Crown St
Brooklyn, NY 11225


Michelle L Heyl
Address Redacted


Michelle Leon
Address Redacted


Michelle S Carling
Address Redacted


Michelle Thomas
Address Redacted


Michelle Vandervort
Address Redacted


Mickey Mouse
Address Redacted


Miguel A Loera
Address Redacted


Miguel A Santos Fernandez
   20-12158-jpm    Doc 1    Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Address Redacted


Miguel Cepeda
Address Redacted


Miguel Rodriguez De Jesus
Address Redacted


Miguel Vallejo
Address Redacted


Mikayla Greeley
Address Redacted


Mikayla Pellerin
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Miller Fahey
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Millicent Ponferrada
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Milton B Cason
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Mindy Marino
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Miranda Lauzon
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Miriam Bonano
Address Redacted


Mitchell Hanson
Address Redacted
   20-12158-jpm    Doc 1    Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 205 of 285




Mitchell Oertel
Address Redacted


Mitchell Pastore
Address Redacted


Mitchell Schear
Address Redacted


Mitchell Schear
Vornado/Charles E. Smith
2345 Crystal Dr, Ste 1100
Arlington, VA 22202


Mitchell Todd
Address Redacted


Miya Dotson
Address Redacted


Mollie Goetz
Address Redacted


Mollie Herrera
Address Redacted


Molly Bradbury
Address Redacted


Molly J Mathis
Address Redacted


Molly Longchamps
Address Redacted


Molly Lucia
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   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Molly Mastromonaco
Address Redacted


Molly O Neil
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Molly Rogow
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Molly Rose
Address Redacted


Molly Wang
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Molly Wiley
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Molly Zimmerman
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Monica E Trauzzi
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Morgan Collins
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Morgan D Ford
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Morgan Dean
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Morgan Harney
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Morgan Holmes
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Address Redacted


Morgan Mastin Mccutcheon
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Morgan Miller
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Morgan Miluk
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Morgan P Palmer
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Morgan Rooney
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Morgan S Jaldon
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Morgan Stansberry
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Morgan Wooten
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Morgan Wright
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Morris A Beyda
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Mya Jackson
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Myles Davis
Address Redacted
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Myra A Simon
Address Redacted


Myriad Supply Company
22 West 19th St 4th Fl
New York, NY 10011


Nadia Paylor
Address Redacted


Najee Mckay
Address Redacted


Nanci E Dodson
Address Redacted


Nancy Brock
Address Redacted


Nancy C Baynard
Address Redacted


Nancy Murphy
Address Redacted


Naomi Attaway
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Naomi Choe
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Naomi Henderson
Address Redacted


Naomi K Oriol
Address Redacted
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Naomi Rouff
Address Redacted


Natalia Arce
Address Redacted


Natalia T De La Canal
Address Redacted


Natalie Edelstein
Address Redacted


Natalie Eldredge
Address Redacted


Natalie Galliano
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Natalie Gargiulo
30-24 43rd St, Apt 1
Astoria, NY 11103


Natalie Gargiulo
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Natalie Hurst
Address Redacted


Natalie L Allen
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Natalie Meyer
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Natalie Ortiz
45 West 139th St, Apt 12L
New York, NY 10037
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                        Pg 210 of 285


Natalie Ortiz
Address Redacted


Natalie Paisner
Address Redacted


Natalie Priscal
Address Redacted


Natalie Schultz
Address Redacted


Natalie Waits
Address Redacted


Natalie Watson
Address Redacted


Natalie Y Cohen
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New York, NY 10065


Natalie Y Cohen
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Natanya Montgomery
Address Redacted


Natasha Delker
Address Redacted


Natasha Orr
Address Redacted


Nathalia Lewis
Address Redacted


Nathan   Associates, Apc
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Attn Reuben Nathan
2901 W Coast Hwy, Ste 200
Newport Beach, CA 92663


Nathan A Fosbinder
Address Redacted


Nathan Jarzembowski
Address Redacted


Nathan Lemburg
Address Redacted


Nathan Willey
Address Redacted


Nathaniel Kim
Address Redacted


Nathaniel Riley
Address Redacted


Neal Rosenthal
Address Redacted


Needar LLC
c/o Nalitt
75 Main Street, Suite 202
Milburn, NJ 07041


Needar, LLC
351 Millburn Abe
Millburn, NJ 07041


Netsuite, Inc.
Oracle America, Inc
500 Oracle Parkway
Redwood Shores, CA 94065
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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New Jersey American Water
P.O. Box 371331
Pittsburgh, PA 15250-7331


New Jersey Division Of Revenue
33 W State St, 5th Fl
Trenton, NJ 08608-1214


New Tech Mechanical Systems, Inc
25A Moffitt Blvd
Bay Shore, NY 11706


New Tech Mechanical Systems, Inc.
c/o Zachter Pllc
25A Moffit Blvd
Bay Shore, NY 11706


New York City Department Of Finance
P.O. Box 5040
Kingston, NY 12402-5040


New York State Dept Of Tax      Financ
Wa Harriman Campus
Albany, NY 12227-0001


Ney Melo
Address Redacted


Niagara Cycle.Com
Credit Card
New York, NY 10010


Nicasia Solano-Reed
Address Redacted


Nichelle Jenkins
Address Redacted


Nicholas A Rivera
Address Redacted
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Nicholas Brenner
Address Redacted


Nicholas D Jorio
Address Redacted


Nicholas Diaz
Address Redacted


Nicholas E Gettling
Address Redacted


Nicholas G Oram
Address Redacted


Nicholas G Perry
Address Redacted


Nicholas Harrison-Trent
Address Redacted


Nicholas L. Giannuzzi
Address on File


Nicholas Petrone
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Nicholas Tigges
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Nicholas Yavelak
Address Redacted


Nicholas Yavorsky
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Nick Luciano
Address Redacted


Nicolas Hawkins
Address Redacted


Nicolas Reyes
Address Redacted


Nicole A Rodriguez
Address Redacted


Nicole Bell
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Nicole Brovarone
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Nicole Buzzi
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Nicole C Ramos
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Nicole D Hinterberger
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Nicole De Melo
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Nicole E Green
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Nicole E Jasper
Address Redacted


Nicole Faerman
Address Redacted
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Nicole Figueroa
Address Redacted


Nicole K Beltz
Address Redacted


Nicole M Hoskens
Address Redacted


Nicole Macenka
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Nicole Marines
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Nicole Motter
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Nicole Napier
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Nicole Noble
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Nicole Penn
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Nicole Potes
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Nicole R Adamo
Address Redacted


Nicole Rubin
Address Redacted
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Nicole Sheaks
Address Redacted


Nicole Urbonas
Address Redacted


Nicole Vazquez
Address Redacted


Nicole White
Address Redacted


Nicole Williams
Address Redacted


Nicole Wong
Address Redacted


Nicolette Gibbons
Address Redacted


Nicolle Debaroncelli
Address Redacted


Nikki Adeli
Address Redacted


Nina Martucci
Address Redacted


Nina Potempa
Address Redacted


NJ American Water
1 Water Street
Camden, NJ 08102


Nj Dept Of The Treasury
   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                      Pg 217 of 285


P.O. Box 302
Trenton, NJ 08646-0302


Nkemdili Ubaru
Address Redacted


Noah Leichtling
Address on File


Noah Leichtling
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Noah Tepperberg
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Noah Tepperberg
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Noah Williams
Address Redacted


Noelle Bradley
Address Redacted


Noelle Trainor
Address Redacted


Nola Schwalb
Address Redacted


Nolan Nardecchia
Address Redacted


Nora Browne
Address Redacted


Norah E Schneyer
Address Redacted
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Norelle Powell
Address Redacted


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Nowani Rattray
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Nyc Department Of Finance
P.O. Box 3653
New York, NY 10008-3653


Nyc Department Of Finance
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Nychel Sigur
Address Redacted


Nydia Molina
Address Redacted


Obiageli Nneji
Address Redacted


Odalys Cordoba
Address Redacted


Olamide Imoukhuede
Address Redacted


Olanike R Akande
Address Redacted


Olga Doria
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 219 of 285


Address Redacted


Oliver Williams
Address Redacted


Olivia Atwood
Address Redacted


Olivia Cooper
Address Redacted


Olivia Cotoulas
Address Redacted


Olivia De Moura Fernandes
Address Redacted


Olivia E Boyd
Address Redacted


Olivia Medley
Address Redacted


Olivia Montgomery
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Olivia Rubbo
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Olivia Salvia
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Olivia Sargent
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Olivia Varah
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                                      Pg 220 of 285




Oludamilola A Gomih
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Omar Sandoval
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OMB Buckhead LLC
733 8th Avenue
San Diego, CA 92101


Omb Buckhead, LLC
3063 Bolling Way NE
Atlanta, GA 30305


One Superior Leasehold
1 W Superior St, Fl 7
Chicago, IL 60654


One Superior Owner, LLC
710 N State St
Chicago, IL 60654


One Superior Place Leasehold, LLC
c/o Wayne S Shapiro, P.C.
710 N State St
Chicago, IL 60654


One Suprerior Owner LLC
Attn Edward S. Goldman, Esq.
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Brookfield Real Estate Financial PLLC
Three World Financial Center
200 Vesey St, 11th Fl
New York, NY 10281-1021
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One Suprerior Owner LLC
c/o Riverstone Residential OSP LLC
One Superior Place
1 W. Superior Street
Chicago, IL 60654


OnePoint Technologies
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Onesix Red Llc
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                                      Pg 222 of 285


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Paige E Mcmurdo
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Paige Pierce
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Paige Schneider
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Paige Whalen
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Pamela N Lewis
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Patrick I Velazquez
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Patrick J Mcginnis
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Patrick L Green
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                                       Pg 224 of 285


Address Redacted


Patrick Mcbryde
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Pearson Properties - Cainhoy 1, LLC
Attn Property Manager
8200 Roberts Dr, Ste 600
Atlanta, GA 30350
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Pearson Properties Cainhoy 1, LLC
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PENSCO Trust Company
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Peoples Gas
P.O. Box 6050
Carol Stream, IL 60197-6050
   20-12158-jpm      Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Peoples Gas - 0603423435-00001
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Green Bay, WI 54307-9100


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   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Bala Cynwyd, PA 19004


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Pseg Long Island
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Purdy Partners 1919, LLC
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Quinn Vaira
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   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Qundeel Khattak
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                                        Pg 230 of 285


Rachel Markowitz
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Rachel Paus
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Rachel Rubin
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Rachel Shaver
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   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
                                       Pg 231 of 285


Address Redacted


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Rebecca Lukasik
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Rebecca Rehfeld
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Rebecca Rigas
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Rebeckah Hansen
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Rebekah Davis
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Reed Semcken
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   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Reilly Mason
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Richard Pendleton
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Richard Shaw
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Richard Stone
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Richards Layton     Finger, PA
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Ridge Martinez
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Riley Hooper
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Riley Scott
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   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Robert D Mcmullen
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Robert D Mcmullen
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Robert D Westbrooks
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Robert E Jennings
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Robert J Smith
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Robert Moore
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Robert Pratt
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Robert Totton
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Roberto Guzman
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Robin Eisenson
Address Redacted


Robin Moraetes
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Address on File


Robin Moraetes
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Robin Retherford
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Rodney S Parish
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Rodrigo Rodriguez
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Ronald Torres
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Roopal H Desai
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Rory Furey-King
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Rory Plante
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Rosa M Yanes
Address Redacted


Rosa Maria Lopez
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Roseland/Stempel
37 W 21st St
New York, NY 10010


Roseland/Stemple
21st Street Associates, LLC
39 W 21st St
New York, NY 10010


Roseland/Stemple 21st Street Assoc LLC
c/o Roseland Property Company
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Short Hills, NJ 07078


Roxanne B Pepper
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Roya A Register
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Ru Sun Zheng
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Ruben Martinez
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Ruoyun Li
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Rusty Ravenscraft
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Ruth Frederick
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Ruth K Zukerman
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Ryan B Devine
Address Redacted


Ryan D Smith
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Ryan Dyckes
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Ryan E Kelly
Address Redacted


Ryan S Wood
Address Redacted


Ryan Todd
Address Redacted


Ryan Vasquez
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S P Yard, Inc
25 Broadway, FL 2
New York, NY 10004


S P Yard, Inc
Attn Kristy Alemar
New York, NY 10004


Sabrina Bos
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Sabrina Johnson
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Sabrina Moak Noesen
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Sabrine Hazel - Fortuna
Address Redacted


Sadaya Mack
Address Redacted


Sage Ratner
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Sage Ricks
Address Redacted


Saidu Sinlah
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Sally Burke
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Sally Hamer
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Sally Johnson
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Samantha E Cole
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Samantha E Farrow
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Samantha F Tannure
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Samantha Fitzgerald
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Samantha Fleisher
Address on File
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Samantha Fleisher
Address Redacted


Samantha Ginsberg
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Samantha Kaire
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Samantha Kramer Wollman
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Samantha Manheimer
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Samantha Mueller
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Samantha Poveromo
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Samantha Raffellini
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Samantha Stonish
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Samantha Tomkiewicz
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Samara Tanenbaum
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Samara Taylor
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                                       Pg 241 of 285


Samarah Williams
Address Redacted


Samuel Babick
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Samuel G Feldman
Address Redacted


Samuel J Hall
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Samuel J Smith
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Sandra M Tanasijevic
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Sandy A Magan
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Saood Abdul-Basit
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Sara B Spiesman
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Address Redacted


Sara Birch
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Sara C Tosti
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Sara Clem
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Sara Dort
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Sara Gunter
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Sara Hart
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Sara Lewis
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Sara M Croke
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Sara M Hoenes
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Sara Matheis
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Sara Simon
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Sara Taylor
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Sarah Ambrose
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Sarah J. Seldin
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   20-12158-jpm    Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Address Redacted


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Sarah Short
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Sarina Gonzalez
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Sascha Baer
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Sasha Conley
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                                      Pg 246 of 285




Savannah Daniel
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Sean Peel
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                                       Pg 247 of 285




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Washington, DC 20549


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                                      Pg 248 of 285


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   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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Shannon Vayne
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Shauna Gibson
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Shelby Baitsholts
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Shelby Baldwin
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Shelby Burr
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Shelby E Wagenseller
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Shelby Ponder
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Siddartha Kreaden
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Sienna Schaal
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                                        Pg 251 of 285




Simon 8/4/70 Trust Fbo David E. Simon
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Simone Mcphail
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Sophia I Reghitto
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Sophia Tiberi
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Sophia Vargas
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                                       Pg 252 of 285


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Stephan Stubbs
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                                        Pg 255 of 285




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                                        Pg 256 of 285




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Sunny Yue
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Susannah Greenwood
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Sydney A Sabean
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Sydney Beacham
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Sydney Cairns
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Sydney E Acard
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Sydney Elise Johnson
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Sydney Kisala
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Sydney M Hawthorne
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Sydney Swing
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Sylvia Calos
Address Redacted


Tableau Software, Inc
P.O. Box 204021
Dallas, TX 75320-4021


Taeler Cyrus
Address Redacted


Taelor Smith
Address Redacted
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Tal Kedem
Address Redacted


Tal Meirson
Address Redacted


Talia Svid
Address Redacted


Talley Perkins
Address Redacted


Talya B Krumholz
Address Redacted


Tammy M Kizzire
Address Redacted


Taneisha Kirchner
Address Redacted


Tanika Roberts
Address Redacted


Tanya Kanchana
Address Redacted


Tara Baitsholts
Address Redacted


Tara Castillo
Address Redacted


Tara G Loveland
Address Redacted


Tara Gilson
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Address Redacted


Tara Palsha Moats
Address Redacted


Tara Ramachandran
Address Redacted


Taryn Berry
Address Redacted


Taryn Moreno
Address Redacted


Taryn Stewart
Address Redacted


Tashanae Qawwee
Address Redacted


Tasnuva Rahman
Address Redacted


Tatiana Tiare Pagan
Address Redacted


Tauren A Kristich
Address Redacted


Tawsif Ahmed
Address Redacted


Tax Collector, Palm Beach County
P.O. Box 3715
West Palm Beach, FL 33402


Tayler M Kiesau
Address Redacted
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Taylor Aguon
Address Redacted


Taylor Antczak
Address Redacted


Taylor Buske
Address Redacted


Taylor C Vaughn
Address Redacted


Taylor C Williams
1749 N Wells St, Apt 1209
Chicago, IL 60614


Taylor C Williams
Address Redacted


Taylor Campbell
Address Redacted


Taylor Conant
Address Redacted


Taylor Coons
Address Redacted


Taylor E Craver
Address Redacted


Taylor Frederick
Address Redacted


Taylor Grant
Address Redacted
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Taylor Jones
Address Redacted


Taylor Kane
Address Redacted


Taylor L Dabbah
Address Redacted


Taylor Lucero
Address Redacted


Taylor Moore
Address Redacted


Taylor O Neil
Address Redacted


Taylor Pearlstein
Address Redacted


Taylor Quinn
Address Redacted


Taylor Walter
Address Redacted


Teco Peoples Gas
P.O. Box 31017
Tampa, FL 33631-3017


Teco Peoples Gas
P.O. Box 31318
Tampa, FL 33631-3318


Teonna Wroten
Address Redacted
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Teresa Codina
Address Redacted


Teresa O Connell
Address Redacted


Terrah L Cathey
Address Redacted


Terrell M Jackson
Address Redacted


Tess Gillis
Address Redacted


Texas Comptroller Of Public Accounts
P.O. Box 13528
Austin, TX 78711-3528


TGA II LLC, DBA Royalton Park Avenue
420 Park Ave S
New York, NY 10016


Tga Ii, LLC
420 Park Ave S
New York, NY 10016


TGA II, LLC
Attn General Manager
Gansevoort Park Avenue
420 Park Avenue South
New York, NY 10016


TGA II, LLC
Attn Michael Achenbaum
c/o Gansevoort Hotel Group
307 Fifth Avenue, 17th Floor
New York, NY 10016
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TGA II, LLC
Attn Natahan Gindi
Centurion Realty LLC
512 7th Avenue, 38th Floor
New York, NY 10018


Thalia Mendoza
Address Redacted


Thao Pham
Address Redacted


The Execu Search Group LLC
675 3rd Ave, 5th Fl
New York, NY 10017


The Incorporated Village Of East Hampton
86 Main St
East Hampton, NY 11937


The United States Attorney s
Office for the District of DE
David C. Weiss
1007 Orange St, Ste 700
P.O. Box 2046
Wilmington, DE 19899-2046


Theresa M Croft
Address Redacted


Thomas A Foster
Address Redacted


Thomas Ap Holtz
Address Redacted


Thomas C Renner
3301 Hudnall St, Apt 8314
Dallas, TX 75235
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Thomas C Renner
Address Redacted


Thomas Doelger
Address Redacted


Thomas Hugus
Address Redacted


Thomas J. Mccarthy
Address Redacted


Thomas Tyler
Address Redacted


Thomas Wesley Nelms
Address Redacted


Thor Flywheel Llc
25 W 39th St
New York, NY 10018


Thor Flywheel Llc
25 West 39th St
New York, NY 10018


Thunderball House, Llc
101 Warren St, Apt 3060
New York, NY 10007


Tian Tang
Address Redacted


Tiara Macias
Address Redacted


Tierney Lanham
Address Redacted
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Tiffanie Cabrera
Address Redacted


Tiffany Chen
Address Redacted


Tiffany L Mulvihill
Address Redacted


Tiffany Too
Address Redacted


Tiger Leasing, Llc
33 W 19th St, 4th Fl
New York, NY 10011


Tim Herkenhoff
Address Redacted


Timarrie Baker
Address Redacted


Time Warner Cable
60 Columbus Circle
New York, NY 10023


Time Warner Cable
Ues - 8150 20 007 0554800
P.O. Box 11820
Newark, NJ 07101-8120


Time Warner Cable - Charlotte
P.O. Box 70872
Charlotte, NC 28272-0872


Timmons E Williams
Address Redacted
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Timothy Alford
Address Redacted


Timothy Bouziane
Address Redacted


Timothy Downey
Address Redacted


Timothy Hill
Address Redacted


Timothy Ventre
Address Redacted


Tina M Harvey
Address Redacted


Tod J Barnett
Address Redacted


Todd Crimmel
Address Redacted


Todd G Gosnell
2535 Lola Ave
Charlotte, NC 28205


Todd G Gosnell
Address Redacted


Todd H Allen
360 W 22nd St, Apt 15B
New York, NY 10011


Todd H Allen
Address Redacted
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Todd Lowdon
Address Redacted


Todd M Gomes
Address Redacted


Todd Zehrer
Address Redacted


Tomas E Urena
Address Redacted


Tommy Truong
Address Redacted


Tori Rightmyer
Address Redacted


Tori Sicklick
Address Redacted


Town Of Highland Park
4700 Drexel Dr
Highland Park, TX 75205


Township Of Millburn
375 Millburn Ave, 1st Fl
Millburn, NJ 07041


Traci Thomas
621 N Mansfield Ave
Los Angeles, CA 90036


Traci Thomas
Address Redacted


Tracy Mcintosh
1429 S Denver Ave
Boise, ID 83706
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Tracy McIntosh
Address Redacted


Tracy Salyer
Address Redacted


Tracy Shen
Address Redacted


Travis County Tax Office
P.O. Box 1748
Austin, TX 78767


Travis Dittenber
Address Redacted


Travis Frenzel
Address Redacted


Trayvon Lofton
Address Redacted


Treasure Island Management LLC
2325 Hollers Avenue
Bronx, NY 10475


Treasure Island Storage
2325 Hollers Ave
Bronx, NY 10475


Trevon Patterson
Address Redacted


Trevor Abbott
Address Redacted


Tristin A Tirico
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Address Redacted


Troy Druppal
Address Redacted


True Commerce, Inc
400 Northpointe Cir, Ste 301
Seven Fields, PA 16046


T-Three Active Llc
6 Sloanes Court
Sands Point, NY 11050


Tulani Elisa
Address Redacted


Twenty Three R.P. Associates
c/o Adams   Company Real Estate, LLC
411 Fifth Avenue, 9th Floor
New York, NY 10016


Tyler Alford
Address Redacted


Tyler Bucher
Address Redacted


Tyler Clark
Address Redacted


Tyler Coppock
Address Redacted


Tyler Mckinney
Address Redacted


Tyler Reaser
Address Redacted
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Tyree Linen
Address Redacted


Tyreese Breshers
Address Redacted


U.S. Treasury Department
1500 Pennsylvania Ave Nw
Washington, DC 20220-0001


United States Treasury
Internal Revenue Service Ctr
Cincinnati, OH 45999-0009


US Trustee
844 N King St, Ste 2207
Lockbox 35
Wilmington, DE 19801


Vacheria Tutson
Address Redacted


Valaree R Fowler
Address Redacted


Valentina Gil
Address Redacted


Valentina Marin
Address Redacted


Valeria Marin
Address Redacted


Valeria Rivera
Address Redacted


Valerie Bar
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Address Redacted


Vandon W Jones
9590 E Florida Ave, Unit 2032
Denver, CO 80247


Vandon W Jones
Address Redacted


Vanesa Tacuri Chumbi
Address Redacted


Vanessa Magula
Address Redacted


Vanessa N Pulice
Address Redacted


Vanessa Piazza
Address Redacted


Vanessa Romano
Address Redacted


Veida Smith
Address Redacted


Verizon
P.O. Box 15124
Albany, NY 12212-5124


Verizon - 212 255 5987 398 21 3
P.O. Box 15124
Albany, NY 12212


Verizon - 552-583-328-0001-84 Flatiron
P.O. Box 15124
Albany, NY 12212
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Veronica Bernardo
Address Redacted


Veronica Peterson
Address Redacted


Vicki Robertson
Address Redacted


Victor Hernandez
Address Redacted


Victor Self
Address Redacted


Victoria Casillo
Address Redacted


Victoria Hersant
Address Redacted


Victoria Nietzel
Address Redacted


Victoria Nourse
Address Redacted


Victoria Pindak
Address Redacted


Victoria R Petersen
Address Redacted


Victoria Rodriguez
Address Redacted


Victoria San Juan-Vistro
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Address Redacted


Victoria Shepherd
Address Redacted


Victoria T Masso
Address Redacted


Victoria True
Address Redacted


Vincent G Ratto
Address Redacted


Vivian Grossman
Address Redacted


Wake County Revenue Department
301 S Mcdowell St, Ste 3800
Raleigh, NC 27601


Wanda Pucci
Address Redacted


Warren Davis
Address Redacted


Washington Department Of Revenue
P.O. Box 4746
Olympia, WA 98504-7476


Waste Connections Of Florida
Re 6440-058477
Miami Hauling
3840 NW 37th Ct
Miami, FL 33142


Wayne S. Shapiro, P.C.
Attn Wayne Shapiro
   20-12158-jpm     Doc 1   Filed 09/14/20 Entered 09/14/20 22:38:14   Main Document
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111 W Washington St, Ste 920
Chicago, IL 60602


Webbank
6440 S Wasatch Blvd, Ste 300
Salt Lake City, UT 84121


Wei Megs Tan
Address Redacted


Wells Fargo Bank, NA
P.O. Box 6995
Portland, OR 97228-6995


Wendy Adams
Address Redacted


Wendy Arroyo
Address Redacted


Wendy J Wolfson
191 Baltic St, Unit 2
Brooklyn, NY 11201


Wendy J Wolfson
Address Redacted


Wendy Sloan
Address Redacted


Whitney Rayner
Address Redacted


Whitney Schmutter
Address Redacted


Whitney Stoneburner
Address Redacted
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Wiliam Troutman
Address Redacted


Will Sennett
Address Redacted


Will Tucker
Address Redacted


William A. Danoff
Address on File


William Frohbose
Address Redacted


William G Haley
Address Redacted


William Henning
Address on File


William Henning
Address Redacted


William Hicks
Address Redacted


William M Pinto
Address Redacted


William Ontiveros
Address Redacted


William S Lewis
Address Redacted


William Shane Lucas
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Address Redacted


William Stauffer
Address Redacted


William Vrountas
Address Redacted


Windstream
P.O. Box 9001908
Louisville, KY 40290-1908


Woodford Vanmeter
Address Redacted


Xavier T Johnson
Address Redacted


Xcel Energy
414 Nicollet Mall
Minneapolis, MN 55401


XPO Last Mile, Inc
6314 Fly Rd
East Syracuse, NY 13057


Yadira Barreto
Address Redacted


Yanira Santos
Address Redacted


Yehuda Gavra
Address Redacted


Yekaterina Ostrovskaya
Address Redacted
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Yevgenia Bondareva
9 Mill Court
Ardsley, NY 10502


Yevgenia Bondareva
Address Redacted


Ynna Kutney
Address Redacted


Yulia Phifer
Address Redacted


Yvonne M Browning
Address Redacted


Zachary A Eisenberg
Address Redacted


Zachary C Scarboro
Address Redacted


Zachary Hollister
Address Redacted


Zachary P Jones
Address Redacted


Zachary Twardowski
Address Redacted


Zachter P, LLC
Attn Rickin Desai
30 Wall St, 8th Fl
New York, NY 10005


Zoe Adelman
Address Redacted
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Zoe Clayton
Address Redacted


Zoe Eisenberg
Address Redacted


Zoe Hartman
Address Redacted


Zoe P Sternbach-Taubman
Address Redacted


Zoe Papelis
Address Redacted


Zoe Taylor
Address Redacted


Zorayda G Rodriguez
Address Redacted


Zulay Scottborgh
Address Redacted
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             UNANIMOUS WRITTEN CONSENT IN LIEU OF A MEETING OF
              THE BOARD OF DIRECTORS OF FLYWHEEL SPORTS, INC.

                                        September 14, 2020

        THE UNDERSIGNED, being all of the members of the Board of Directors (the “Board”)
of Flywheel Sports, Inc., a Delaware corporation (the “Corporation”), do hereby waive notice for
a meeting and do hereby consent to the adoption of the following resolutions, which resolutions
shall be deemed to be adopted as of the date on which the last director’s signature was obtained
and to have the same force and effect as if such resolutions were adopted by unanimous vote of
the Board at a duly convened meeting held for such purpose, all in accordance with Section
141(f) of the general corporation law of the State of Delaware (the “DGCL”):

       WHEREAS, the Board has considered the business and financial conditions and results
of operations of the Corporation on the date hereof, including the assets and liabilities of the
Corporation; and

        WHEREAS, the Board has reviewed, considered and received the recommendations of
the senior management of the Corporation and the Corporation’s legal, financial and other
advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding under Chapter
7 of Title 11 of the United States Code (11 U.S.C. §§ 101 et seq., the “Bankruptcy Code”); and

        WHEREAS, based on factors and information deemed relevant by the Board, in the
judgment of the Board, it is in the best interests of the Corporation, as well as the best interests of
the Corporation’s creditors and other interested parties under the circumstances set forth herein,
that the Corporation file a voluntary petition for relief under Chapter 7 of the Bankruptcy Code
on behalf of the Corporation.

        NOW, THEREFORE, BE IT:

         RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
the Corporation, its creditors and other parties in interest, taken as a whole, that the Corporation
file or cause to be filed a voluntary petition for relief under the provisions of Chapter 7 of the
Bankruptcy Code; and

        RESOLVED FURTHER that Travis Frenzel (the “Authorized Officer”) be and hereby
are authorized to: (i) execute and file (or direct others to do so on their behalf as provided herein)
on behalf of the Corporation a petition under Chapter 7 of the Bankruptcy Code with a United
States Bankruptcy Court in such form and at such time as the Authorized Officer shall determine
and (ii) execute and file all petitions, schedules, motions, lists, applications, pleadings and other
papers related thereto, and (iii) employ and retain all assistance of legal counsel, accountants or
other professionals and to take any and all actions which he deems to be necessary and proper in
connection with the Chapter 7 case; and

        RESOLVED FURTHER that the Authorized Officer, and any employees or agents
(including counsel) designated by or directed by the Authorized Officer, shall be, and each



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hereby is, authorized and directed to take all steps and do all acts and things, including the
execution and delivery of documents, as may be necessary or as may be deemed to be necessary,
advisable or appropriate by the Authorized Officer to effectuate the purposes and intents of the
foregoing resolutions; and

       RESOLVED FURTHER that any and all acts taken and any and all certificates,
instruments, agreements, or other documents executed on behalf of the Corporation by the
Authorized Officer of the Corporation prior to the adoption of these resolutions with regard to
any of the transactions, actions, certificates, instruments, agreements, or other documents
authorized or approved by the foregoing resolutions be, and hereby are, in all respects, ratified,
confirmed, adopted, and approved; and

        RESOLVED FURTHER that any specific resolutions that may be required to have been
adopted by the Board to effectuate the matters and transactions contemplated by the foregoing
resolutions be, and they hereby are, adopted, and the directors, officers, and authorized
representatives of the Corporation be, and each of them acting alone hereby is authorized, in the
name of and on behalf of the Corporation to certify as to the adoption of any and all such
resolutions; and

        RESOLVED FURTHER that the Authorized Officer shall be, and hereby is, authorized
and empowered on behalf of the Corporation and in its name to take or cause to be taken all
actions and to execute and deliver all such instruments that such Authorized Officer determines
are necessary or desirable in connection with or in furtherance of the foregoing resolutions; and

        RESOLVED FURTHER that this consent may be executed by facsimile, telecopy or
other reproduction, and such execution shall be considered valid, binding and effective for all
purposes.




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             IN WITNESS WHEREOF, the undersigned certify to the foregoing resolutions as of the 14th
             day of September, 2020.

             DIRECTORS



             Name: James Continenza



             Name: Darren Richman




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IN WITNESS WHEREOF, the undersigned certify to the foregoing resolutions as of the 14th
day of September, 2020.

DIRECTORS



Name: James Continenza



Name: Darren Richman




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                           United States Bankruptcy Court
                                 Southern District of New York

In re: Flywheel Sports, Inc.,                                         Case No.
                       Debtor.                                        Chapter 7
                CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate
possible disqualification or recusal, the undersigned counsel for Flywheel Sports, Inc. in the
above captioned action, certifies that the following is a (are) corporation(s), other than the debtor
or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the
corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

   Equity Security Holder                     Address                      Percentage of Shares
                                    53 West 23 Street, 9th Floor
                                              rd
Flywheel Sports Parent, Inc.                                          100%
                                    New York, NY 10010


9/14/2020                                      /s/ Todd C. Meyers
Date                                           Todd C. Meyers (5502596)
                                               Kilpatrick Townsend & Stockton LLP
                                               1114 Avenue of the Americas
                                               New York, NY 10036-7703
                                               Telephone: (212) 775-8700
                                               Facsimile: (212) 775-8800
                                               Email: tmeyers@kilpatricktownsend.com
                                               Counsel for the Debtor
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B2030 (Form 2030) (12/15)



                               United States Bankruptcy Court
                                   Southern District of New York

In re: Flywheel Sports, Inc.,                                                    Case No.
                           Debtor.                                               Chapter 7
            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for
the above named debtor(s) and that compensation paid to me within one year before the filing of
the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
For legal services, I have agreed to accept                                      $80,070.76
                                                                                                   1
Prior to the filing of this statement I have received                            $80,070.76
Balance Due                                                                      $0
2. The source of the compensation paid to me was:

         ☒ Debtor          ☐ Other (specify)
3. The source of compensation to be paid to me is:

         ☒ Debtor          ☐ Other (specify)

4. ☒ I have not agreed to share the above-disclosed compensation with any other person unless
they are members and associates of my law firm.

☐ I have agreed to share the above-disclosed compensation with a other person or persons who
are not members or associates of my law firm. A copy of the agreement, together with a list of the
names of the people sharing in the compensation, is attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the
bankruptcy case, including:

         a. Analysis of the debtor' s financial situation, and rendering advice to the debtor in
         determining whether to file a petition in bankruptcy;

1
  The amounts reflected herein were received in connection with the collective filings of the following debtors, which
filed petitions for relief under chapter 7 contemporaneously herewith: Flywheel Sports, Inc., Flywheel Sports Parent,
Inc., Flywheel Astor Place LLC, Flywheel Buckhead LLC, Flywheel CCDC, LLC, Flywheel NM LLC, Flywheel Park
Avenue LLC, Flywheel Playa Vista, LLC, Flywheel San Francisco, LLC, Flywheel Topanga, LLC, Flywheel Walnut
Creek LLC, Flywheel Sports Scottsdale, LLC, Flywheel Santa Monica, LLC, Flywheel Williamsburg LLC, Flywheel
Domain LLC, and Flywheel Denver Union Station, LLC (the “Debtors”). Prior to the filing of the chapter 7 petitions
of each of the above referenced Debtors, Kilpatrick Townsend & Stockton LLP received $419,929.24, in connection
with other services rendered to the Debtors.
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       b. Preparation and filing of any petition, schedules, and statements of affairs which may be
       required; and

       c. Representation of the debtor at the meeting of creditors and any adjourned hearings
       thereof.

6. By agreement with the debtor(s), the above-disclosed fee does not include the following
services:

       a. Representation of the debtor in adversary proceedings and other contested bankruptcy
       matters.



                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       9/14/2020                             /s/ Todd C. Meyers
       Date                                  Signature of Attorney

                                             Kilpatrick Townsend & Stockton LLP
                                             Name of law firm
